B1 (Official Form 1) (04/13)
                                                   United States Bankruptcy Court
                                                   WESTERN DISTRICT OF TEXAS                                                                                     Voluntary Petition
                                                          AUSTIN DIVISION
Name of Debtor (if individual, enter Last, First, Middle):                                           Name of Joint Debtor (Spouse) (Last, First, Middle):
McCole, Andrew                                                                                       McCole, Melissa Kelly

All Other Names used by the Debtor in the last 8 years                                               All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                          (include married, maiden, and trade names):
dba Lonestar Hypnosis                                                                                dba Beachy Bungalow; dba Planet Hypnosis



Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN (if more               Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN (if more
than one, state all):     xxx-xx-2505                                                                than one, state all):     xxx-xx-7221
Street Address of Debtor (No. and Street, City, and State):                                          Street Address of Joint Debtor (No. and Street, City, and State):
4378 Barchetta Dr                                                                                    4378 Barchetta Dr
Round Rock, TX                                                                                       Round Rock, TX
                                                                          ZIP CODE                                                                                         ZIP CODE
                                                                            78665                                                                                           78665
County of Residence or of the Principal Place of Business:                                           County of Residence or of the Principal Place of Business:
Williamson                                                                                           Williamson
Mailing Address of Debtor (if different from street address):                                        Mailing Address of Joint Debtor (if different from street address):



                                                                          ZIP CODE                                                                                         ZIP CODE


Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                                           ZIP CODE


                         Type of Debtor                                         Nature of Business                                    Chapter of Bankruptcy Code Under Which
                      (Form of Organization)                                      (Check one box.)                                       the Petition is Filed (Check one box.)
                         (Check one box.)                                      Health Care Business                               Chapter 7
        Individual (includes Joint Debtors)                                    Single Asset Real Estate as defined                Chapter 9                 Chapter 15 Petition for Recognition
        See Exhibit D on page 2 of this form.                                  in 11 U.S.C. § 101(51B)                                                      of a Foreign Main Proceeding
                                                                                                                                  Chapter 11
        Corporation (includes LLC and LLP)                                     Railroad
                                                                                                                                  Chapter 12                Chapter 15 Petition for Recognition
                                                                               Stockbroker                                                                  of a Foreign Nonmain Proceeding
        Partnership                                                                                                               Chapter 13
                                                                               Commodity Broker
        Other (If debtor is not one of the above entities, check
        this box and state type of entity below.)                              Clearing Bank                                                         Nature of Debts
                                                                               Other                                                                 (Check one box.)
                        Chapter 15 Debtors                                          Tax-Exempt Entity                             Debts are primarily consumer             Debts are primarily
Country of debtor's center of main interests:                                     (Check box, if applicable.)                     debts, defined in 11 U.S.C.              business debts.
                                                                               Debtor is a tax-exempt organization                § 101(8) as "incurred by an
Each country in which a foreign proceeding by, regarding, or                   under title 26 of the United States                individual primarily for a
against debtor is pending:                                                     Code (the Internal Revenue Code).                  personal, family, or house-
                                                                                                                                  hold purpose."
                              Filing Fee (Check one box.)                                            Check one box:                     Chapter 11 Debtors
                                                                                                             Debtor is a small business debtor as defined by 11 U.S.C. § 101(51D).
        Full Filing Fee attached.
                                                                                                             Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
        Filing Fee to be paid in installments (applicable to individuals only). Must attach          Check if:
        signed application for the court's consideration certifying that the debtor is                       Debtor's aggregate noncontigent liquidated debts (excluding debts owed to
        unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.                        insiders or affiliates) are less than $2,490,925 (amount subject to adjustment
                                                                                                             on 4/01/16 and every three years thereafter).
        Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                 Check all applicable boxes:
        attach signed application for the court's consideration. See Official Form 3B.                       A plan is being filed with this petition.
                                                                                                             Acceptances of the plan were solicited prepetition from one or more classes
                                                                                                             of creditors, in accordance with 11 U.S.C. § 1126(b).
 Statistical/Administrative Information                                                                                                                                THIS SPACE IS FOR
                                                                                                                                                                       COURT USE ONLY
      Debtor estimates that funds will be available for distribution to unsecured creditors.
      Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
      there will be no funds available for distribution to unsecured creditors.
 Estimated Number of Creditors

 1-49        50-99        100-199        200-999         1,000-           5,001-           10,001-              25,001-           50,001-         Over
                                                         5,000            10,000           25,000               50,000            100,000         100,000
 Estimated Assets

 $0 to    $50,001 to $100,001 to $500,001                $1,000,001       $10,000,001      $50,000,001          $100,000,001      $500,000,001 More than
 $50,000 $100,000 $500,000       to $1 million           to $10 million   to $50 million   to $100 million      to $500 million   to $1 billion $1 billion
 Estimated Liabilities

 $0 to   $50,001 to $100,001 to $500,001                 $1,000,001       $10,000,001      $50,000,001          $100,000,001      $500,000,001 More than
 $50,000 $100,000 $500,000      to $1 million            to $10 million   to $50 million   to $100 million      to $500 million   to $1 billion $1 billion
Computer software provided by LegalPRO Systems, Inc., San Antonio, Texas (210) 561-5300, Copyright 1996-2015 (Build 11.3.0.4, ID 3760797832)
B1 (Official Form 1) (04/13)                                                                                                                                                     Page 2
 Voluntary Petition                                                                         Name of Debtor(s):    Andrew McCole
                                                                                                                  Melissa Kelly McCole
 (This page must be completed and filed in every case.)
                           All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet.)
Location Where Filed:                                                                      Case Number:                                   Date Filed:


Location Where Filed:                                                                      Case Number:                                   Date Filed:


        Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor                                     (If more than one, attach additional sheet.)
Name of Debtor:                                                                            Case Number:                                   Date Filed:


District:                                                                                  Relationship:                                  Judge:


                                         Exhibit A                                                                                 Exhibit B
 (To be completed if debtor is required to file periodic reports (e.g., forms 10K and                              (To be completed if debtor is an individual
 10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)                                  whose debts are primarily consumer debts.)
 of the Securities Exchange Act of 1934 and is requesting relief under chapter 11.)         I, the attorney for the petitioner named in the foregoing petition, declare that I have
                                                                                            informed the petitioner that [he or she] may proceed under chapter 7, 11, 12, or 13
                                                                                            of title 11, United States Code, and have explained the relief available under each
        Exhibit A is attached and made a part of this petition.                             such chapter. I further certify that I have delivered to the debtor the notice
                                                                                            required by 11 U.S.C. § 342(b).



                                                                                            X     /s/ Michael Baumer                                                 11/4/2015
                                                                                                 Michael Baumer                                                        Date
                                                                                     Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
        Yes, and Exhibit C is attached and made a part of this petition.
        No.

                                                                                     Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
          Exhibit D, completed and signed by the debtor, is attached and made a part of this petition.

 If this is a joint petition:
              Exhibit D, also completed and signed by the joint debtor, is attached and made a part of this petition.

                                                                   Information Regarding the Debtor - Venue
                                                                          (Check any applicable box.)
        Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
        preceding the date of this petition or for a longer part of such 180 days than in any other District.

        There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.

        Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has no
        principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in this District,
        or the interests of the parties will be served in regard to the relief sought in this District.

                                      Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                               (Check all applicable boxes.)
        Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                                                                        (Name of landlord that obtained judgment)




                                                                                        (Address of landlord)
        Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the entire
        monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

        Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period after the filing of the
        petition.

        Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
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B1 (Official Form 1) (04/13)                                                                                                                                                       Page 3
 Voluntary Petition                                                                          Name of Debtor(s):     Andrew McCole
                                                                                                                    Melissa Kelly McCole
 (This page must be completed and filed in every case)
                                                                                        Signatures
             Signature(s) of Debtor(s) (Individual/Joint)                                                          Signature of a Foreign Representative
 I declare under penalty of perjury that the information provided in this petition is        I declare under penalty of perjury that the information provided in this petition is true
 true and correct.                                                                           and correct, that I am the foreign representative of a debtor in a foreign proceeding,
 [If petitioner is an individual whose debts are primarily consumer debts and has            and that I am authorized to file this petition.
 chosen to file under chapter 7] I am aware that I may proceed under chapter 7,
 11, 12 or 13 of title 11, United States Code, understand the relief available under
                                                                                             (Check only one box.)
 each such chapter, and choose to proceed under chapter 7.
 [If no attorney represents me and no bankruptcy petition preparer signs the                     I request relief in accordance with chapter 15 of title 11, United States Code.
 petition] I have obtained and read the notice required by 11 U.S.C. § 342(b).                   Certified copies of the documents required by 11 U.S.C. § 1515 are attached.

 I request relief in accordance with the chapter of title 11, United States Code,                Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the chapter of
 specified in this petition.                                                                     title 11 specified in this petition. A certified copy of the order granting
                                                                                                 recognition of the foreign main proceeding is attached.


 X     /s/ Andrew McCole
      Andrew McCole
                                                                                             X
       /s/ Melissa Kelly McCole                                                                  (Signature of Foreign Representative)
 X    Melissa Kelly McCole

                                                                                                 (Printed Name of Foreign Representative)
     Telephone Number (If not represented by attorney)
     11/4/2015
     Date                                                                                        Date
                                Signature of Attorney*                                                  Signature of Non-Attorney Bankruptcy Petition Preparer
                                                                                             I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as
 X     /s/ Michael Baumer                                                                    defined in 11 U.S.C. § 110; (2) I prepared this document for compensation and
      Michael Baumer                                   Bar No. 01931920                      have provided the debtor with a copy of this document and the notices and
                                                                                             information required under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, (3) if rules
                                                                                             or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a
 Law Office of Michael Baumer
                                                                                             maximum fee for services chargeable by bankruptcy petition preparers, I have
 7600 Burnet Road, Suite 530                                                                 given the debtor notice of the maximum amount before preparing any document
 Austin, TX 78757                                                                            for filing for a debtor or accepting any fee from the debtor, as required in that
 baumerlaw@baumerlaw.com                                                                     section. Official Form 19 is attached.


          (512) 476-8707
 Phone No.______________________        (512) 476-8604
                                 Fax No.______________________
                                                                                             Printed Name and title, if any, of Bankruptcy Petition Preparer
     11/4/2015
     Date
 *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a               Social-Security number (If the bankruptcy petition preparer is not an individual,
 certification that the attorney has no knowledge after an inquiry that the                  state the Social-Security number of the officer, principal, responsible person or
 information in the schedules is incorrect.                                                  partner of the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)


                Signature of Debtor (Corporation/Partnership)
 I declare under penalty of perjury that the information provided in this petition is
 true and correct, and that I have been authorized to file this petition on behalf of
 the debtor.
                                                                                             Address
 The debtor requests relief in accordance with the chapter of title 11, United States
 Code, specified in this petition.
                                                                                             X
                                                                                                 Date
 X                                                                                           Signature of bankruptcy petiton preparer or officer, principal, responsible person, or
                                                                                             partner whose Social-Security number is provided above.
     Signature of Authorized Individual
                                                                                             Names and Social-Security numbers of all other individuals who prepared or
                                                                                             assisted in preparing this document unless the bankruptcy petition preparer is not
     Printed Name of Authorized Individual                                                   an individual.



     Title of Authorized Individual                                                          If more than one person prepared this document, attach additional sheets
                                                                                             conforming to the appropriate official form for each person.

                                                                                             A bankruptcy petition preparer's failure to comply with the provisions of title 11
     Date                                                                                    and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                             imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.


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B 1D (Official Form 1, Exhibit D) (12/09)   UNITED STATES BANKRUPTCY COURT
                                               WESTERN DISTRICT OF TEXAS
                                                     AUSTIN DIVISION
In re:   Andrew McCole                                                                   Case No.
         Melissa Kelly McCole                                                                                 (if known)

                     Debtor(s)

              EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                               CREDIT COUNSELING REQUIREMENT


Warning: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you
cannot do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens,
you will lose whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your
case is dismissed and you file another bankruptcy case later, you may be required to pay a second filing fee and you may
have to take extra steps to stop creditors' collection activities.

Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate Exhibit D.
Check one of the five statements below and attach any documents as directed.


    1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency
approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling
and assisted me in performing a related budget analysis, and I have a certificate from the agency describing the services
provided to me. Attach a copy of the certificate and a copy of any debt repayment plan developed through the agency.

    2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency
approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit couseling
and assisted me in performing a related budget analysis, but I do not have a certificate from the agency describing the services
provided to me. You must file a copy of a certificate from the agency describing the services provided to you and a copy of any
debt repayment plan developed through the agency no later than 14 days after your bankruptcy case is filed.


     3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the services during
the seven days from the time I made my request, and the following exigent circumstances merit a temporary waiver of the credit
counseling requirement so I can file my bankruptcy case now. [Summarize exigent circumstances here.]




If your certification is satisfactory to the court, you must still obtain the credit counseling briefing within the first 30 days
after you file your bankruptcy petition and promptly file a certificate from the agency that provided the counseling, together
with a copy of any debt management plan developed through the agency. Failure to fulfill these requirements may result in
dismissal of your case. Any extension of the 30-day deadline can be granted only for cause and is limited to a maximum of
15 days. Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
without first receiving a credit counseling briefing.
B 1D (Official Form 1, Exhibit D) (12/09)   UNITED STATES BANKRUPTCY COURT
                                               WESTERN DISTRICT OF TEXAS
                                                     AUSTIN DIVISION
In re:   Andrew McCole                                                                Case No.
         Melissa Kelly McCole                                                                              (if known)

                     Debtor(s)

              EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                               CREDIT COUNSELING REQUIREMENT
                                                        Continuation Sheet No. 1



    4. I am not required to receive a credit counseling briefing because of:    [Check the applicable statement.] [Must be
accompanied by a motion for determination by the court.]

              Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental deficiency so as to
              be incapable of realizing and making rational decisions with respect to financial responsibilites.);


              Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being unable, after reasonable
              effort, to participate in a credit counseling briefing in person, by telephone, or through the Internet.);


              Active military duty in a military combat zone.

    5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement of
11 U.S.C. § 109(h) does not apply in this district.


I certify under penalty of perjury that the information provided above is true and correct.



Signature of Debtor:    /s/ Andrew McCole
                       Andrew McCole

Date:        11/4/2015
B 1D (Official Form 1, Exhibit D) (12/09)   UNITED STATES BANKRUPTCY COURT
                                               WESTERN DISTRICT OF TEXAS
                                                     AUSTIN DIVISION
In re:   Andrew McCole                                                                   Case No.
         Melissa Kelly McCole                                                                                 (if known)

                     Debtor(s)

              EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                               CREDIT COUNSELING REQUIREMENT


Warning: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you
cannot do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens,
you will lose whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your
case is dismissed and you file another bankruptcy case later, you may be required to pay a second filing fee and you may
have to take extra steps to stop creditors' collection activities.

Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate Exhibit D.
Check one of the five statements below and attach any documents as directed.


    1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency
approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling
and assisted me in performing a related budget analysis, and I have a certificate from the agency describing the services
provided to me. Attach a copy of the certificate and a copy of any debt repayment plan developed through the agency.

    2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency
approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit couseling
and assisted me in performing a related budget analysis, but I do not have a certificate from the agency describing the services
provided to me. You must file a copy of a certificate from the agency describing the services provided to you and a copy of any
debt repayment plan developed through the agency no later than 14 days after your bankruptcy case is filed.


     3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the services during
the seven days from the time I made my request, and the following exigent circumstances merit a temporary waiver of the credit
counseling requirement so I can file my bankruptcy case now. [Summarize exigent circumstances here.]




If your certification is satisfactory to the court, you must still obtain the credit counseling briefing within the first 30 days
after you file your bankruptcy petition and promptly file a certificate from the agency that provided the counseling, together
with a copy of any debt management plan developed through the agency. Failure to fulfill these requirements may result in
dismissal of your case. Any extension of the 30-day deadline can be granted only for cause and is limited to a maximum of
15 days. Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
without first receiving a credit counseling briefing.
B 1D (Official Form 1, Exhibit D) (12/09)   UNITED STATES BANKRUPTCY COURT
                                               WESTERN DISTRICT OF TEXAS
                                                     AUSTIN DIVISION
In re:   Andrew McCole                                                                Case No.
         Melissa Kelly McCole                                                                              (if known)

                     Debtor(s)

              EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                               CREDIT COUNSELING REQUIREMENT
                                                        Continuation Sheet No. 1



    4. I am not required to receive a credit counseling briefing because of:    [Check the applicable statement.] [Must be
accompanied by a motion for determination by the court.]

              Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental deficiency so as to
              be incapable of realizing and making rational decisions with respect to financial responsibilites.);


              Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being unable, after reasonable
              effort, to participate in a credit counseling briefing in person, by telephone, or through the Internet.);


              Active military duty in a military combat zone.

    5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement of
11 U.S.C. § 109(h) does not apply in this district.


I certify under penalty of perjury that the information provided above is true and correct.



Signature of Debtor:    /s/ Melissa Kelly McCole
                       Melissa Kelly McCole

Date:        11/4/2015
B6A (Official Form 6A) (12/07)



In re Andrew McCole                                                    Case No.
      Melissa Kelly McCole                                                                                   (if known)



                                     SCHEDULE A - REAL PROPERTY


                                                                                                          Current Value




                                                                                Husband, Wife, Joint,
                                                                                                           of Debtor's
                   Description and                    Nature of Debtor's




                                                                                  or Community
                                                                                                            Interest in
                     Location of                     Interest in Property
                                                                                                        Property, Without    Amount Of
                      Property                                                                                              Secured Claim
                                                                                                         Deducting Any
                                                                                                         Secured Claim
                                                                                                          or Exemption


 single family residence                       fee simple                          W                        $355,000.00       $169,725.00
 4378 Barchetta Dr
 Round Rock, TX 78665
 Lot 7 Block 3 Teravista Sec 22
 Williamson County
 purchased 6/10 for $295,000
 2015 WCAD appraisal $410,886




                                                                            Total:                          $355,000.00
                                                                            (Report also on Summary of Schedules)
B6B (Official Form 6B) (12/07)




In re Andrew McCole                                                                      Case No.
      Melissa Kelly McCole                                                                            (if known)



                                         SCHEDULE B - PERSONAL PROPERTY




                                                                                                           Husband, Wife, Joint,
                                                                                                                                   Current Value of
                                                                                                                                   Debtor's Interest




                                                                                                             or Community
                                                                                                                                      in Property,

                                          None
                                                                                                                                   Without Deducting
             Type of Property                                  Description and Location of Property                                  any Secured
                                                                                                                                        Claim or
                                                                                                                                       Exemption

1. Cash on hand.                                 cash                                                            C                          $20.00



2. Checking, savings or other finan-             Truwest CU checking                                             H                          $12.00
cial accounts, certificates of deposit
or shares in banks, savings and loan,            Truwest CU savings                                              H                          $25.00
thrift, building and loan, and home-
stead associations, or credit unions,            PayPal                                                          H                          $13.00
brokerage houses, or cooperatives.
                                                 University FCU checking                                         W                           $9.00

                                                 University FCU savings                                          W                           $5.00

                                                 Paypal                                                          W                           $0.00

                                                 TruWest CU checking                                             W                           $0.00

                                                 TruWest CU savings                                              W                           $0.00

                                                 Independent Bank savings 8423                                   W                           $0.48



3. Security deposits with public util-           Williamson County MUD #11                                       C                         $150.00
ities, telephone companies, land-
lords, and others.

4. Household goods and furnishings,              sofa                                                            C                         $250.00
including audio, video and computer
equipment.                                       sofa                                                            C                         $250.00

                                                 sofa                                                            C                         $250.00

                                                 sofa                                                            C                         $250.00

                                                 recliner                                                        C                         $200.00

                                                 chairs                                                          C                         $100.00
B6B (Official Form 6B) (12/07) -- Cont.




In re Andrew McCole                                                                          Case No.
      Melissa Kelly McCole                                                                                (if known)



                                          SCHEDULE B - PERSONAL PROPERTY
                                                               Continuation Sheet No. 1




                                                                                                               Husband, Wife, Joint,
                                                                                                                                       Current Value of
                                                                                                                                       Debtor's Interest




                                                                                                                 or Community
                                                                                                                                          in Property,

                                           None
                                                                                                                                       Without Deducting
             Type of Property                                      Description and Location of Property                                  any Secured
                                                                                                                                            Claim or
                                                                                                                                           Exemption

                                                  coffee table                                                       C                          $50.00

                                                  end tables                                                         C                         $100.00

                                                  bookcases                                                          C                         $200.00

                                                  lamp                                                               C                         $100.00

                                                  5 televisions                                                      C                       $1,500.00

                                                  DVRs                                                               C                         $200.00

                                                  DVDs                                                               C                         $150.00

                                                  stereo                                                             C                          $50.00

                                                  stereo cabinet                                                     C                       $1,000.00

                                                  computer                                                           C                         $300.00

                                                  computer                                                           C                         $500.00

                                                  bar                                                                C                         $200.00

                                                  refrigerator                                                       C                       $1,000.00

                                                  kitchenware                                                        C                       $1,400.00

                                                  table and chairs                                                   C                         $300.00

                                                  table and chairs                                                   C                         $500.00

                                                  sterling ware                                                      C                         $200.00

                                                  pictures                                                           C                         $200.00

                                                  ottoman                                                            C                         $300.00
B6B (Official Form 6B) (12/07) -- Cont.




In re Andrew McCole                                                                           Case No.
      Melissa Kelly McCole                                                                                 (if known)



                                          SCHEDULE B - PERSONAL PROPERTY
                                                             Continuation Sheet No. 2




                                                                                                                Husband, Wife, Joint,
                                                                                                                                        Current Value of
                                                                                                                                        Debtor's Interest




                                                                                                                  or Community
                                                                                                                                           in Property,

                                           None
                                                                                                                                        Without Deducting
             Type of Property                                       Description and Location of Property                                  any Secured
                                                                                                                                             Claim or
                                                                                                                                            Exemption

                                                  display cabinet                                                     C                         $400.00

                                                  fountain                                                            C                         $100.00

                                                  Christmas decorations                                               C                         $500.00

                                                  bed                                                                 W                         $200.00

                                                  dresser                                                             W                         $200.00

                                                  chest                                                               C                         $100.00

                                                  night stands                                                        C                         $100.00

                                                  shelves                                                             C                          $75.00

                                                  shelves                                                             C                          $75.00

                                                  bed                                                                 H                         $100.00

                                                  dresser                                                             H                         $100.00

                                                  night stands                                                        H                         $100.00

                                                  coffee table                                                        H                          $50.00

                                                  bed                                                                 H                         $100.00

                                                  dresser                                                             H                         $100.00

                                                  chests                                                              H                         $200.00

                                                  toys                                                                C                         $400.00

                                                  desk                                                                C                         $100.00

                                                  chaise                                                              C                         $100.00
B6B (Official Form 6B) (12/07) -- Cont.




In re Andrew McCole                                                                           Case No.
      Melissa Kelly McCole                                                                                 (if known)



                                          SCHEDULE B - PERSONAL PROPERTY
                                                              Continuation Sheet No. 3




                                                                                                                Husband, Wife, Joint,
                                                                                                                                        Current Value of
                                                                                                                                        Debtor's Interest




                                                                                                                  or Community
                                                                                                                                           in Property,

                                           None
                                                                                                                                        Without Deducting
             Type of Property                                       Description and Location of Property                                  any Secured
                                                                                                                                             Claim or
                                                                                                                                            Exemption

                                                  linens                                                              C                         $100.00

                                                  vacuums                                                             C                         $450.00

                                                  sewing machine                                                      C                         $100.00

                                                  patio furniture                                                     C                         $350.00

                                                  grill                                                               C                          $50.00

                                                  washer                                                              C                         $300.00

                                                  dryer                                                               C                         $300.00

                                                  refrigerator                                                        C                         $100.00

                                                  tools                                                               C                         $300.00

                                                  lawn mower                                                          C                          $50.00

                                                  desk                                                                C                         $100.00

                                                  chair                                                               C                          $50.00

                                                  file cabinet                                                        C                          $50.00

                                                  wood cabinet                                                        C                          $50.00

                                                  recliners                                                           C                         $150.00

                                                  scale                                                               C                          $75.00

                                                  printer                                                             C                          $50.00

                                                  light/sound machines                                                C                         $200.00

                                                  audio                                                               C                          $75.00
B6B (Official Form 6B) (12/07) -- Cont.




In re Andrew McCole                                                                        Case No.
      Melissa Kelly McCole                                                                              (if known)



                                          SCHEDULE B - PERSONAL PROPERTY
                                                             Continuation Sheet No. 4




                                                                                                             Husband, Wife, Joint,
                                                                                                                                     Current Value of
                                                                                                                                     Debtor's Interest




                                                                                                               or Community
                                                                                                                                        in Property,

                                           None
                                                                                                                                     Without Deducting
             Type of Property                                    Description and Location of Property                                  any Secured
                                                                                                                                          Claim or
                                                                                                                                         Exemption

                                                  scanner                                                          C                         $100.00

                                                  safe                                                             C                          $50.00

                                                  decor                                                            C                         $125.00

                                                  misc household goods                                             C                       $1,000.00



5. Books; pictures and other art                  books                                                            C                         $600.00
objects; antiques; stamp, coin,
record, tape, compact disc, and other             CDs                                                              C                         $200.00
collections or collectibles.
                                                  DVDs                                                             C                         $500.00

                                                  decor                                                            C                       $1,000.00

                                                  Disney collectables                                              C                       $3,000.00


6. Wearing apparel.                               misc mens clothing                                               C                         $400.00

                                                  misc womens clothing                                             C                         $500.00

                                                  misc boys clothing                                               C                         $100.00


7. Furs and jewelry.                              misc mens jewelry                                                H                         $300.00

                                                  misc womens jewelry                                              W                         $400.00

                                                  womens wedding ring                                              W                         $170.00


8. Firearms and sports, photo-                    fitness equipment                                                H                         $250.00
graphic, and other hobby equipment.
                                                  Glock 26                                                         H                         $300.00
B6B (Official Form 6B) (12/07) -- Cont.




In re Andrew McCole                                                                         Case No.
      Melissa Kelly McCole                                                                               (if known)



                                          SCHEDULE B - PERSONAL PROPERTY
                                                              Continuation Sheet No. 5




                                                                                                              Husband, Wife, Joint,
                                                                                                                                      Current Value of
                                                                                                                                      Debtor's Interest




                                                                                                                or Community
                                                                                                                                         in Property,

                                           None
                                                                                                                                      Without Deducting
             Type of Property                                     Description and Location of Property                                  any Secured
                                                                                                                                           Claim or
                                                                                                                                          Exemption

                                                  camping gear                                                      H                         $250.00

                                                  telescope                                                         H                         $125.00



9. Interests in insurance policies.               Genworth term policy                                              H                           $0.00
Name insurance company of each
policy and itemize surrender or
refund value of each.

10. Annuities. Itemize and name            X
each issuer.

11. Interests in an education IRA as       X
defined in 26 U.S.C. § 530(b)(1) or
under a qualified State tuition plan
as defined in 26 U.S.C. § 529(b)(1).
Give particulars. (File separately
the record(s) of any such interest(s).
11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh,        X
or other pension or profit sharing
plans. Give particulars.

13. Stock and interests in incorpo-        X
rated and unincorporated businesses.
Itemize.

14. Interests in partnerships or joint     X
ventures. Itemize.

15. Government and corporate bonds         X
and other negotiable and non-
negotiable instruments.

16. Accounts receivable.                   X
B6B (Official Form 6B) (12/07) -- Cont.




In re Andrew McCole                                                              Case No.
      Melissa Kelly McCole                                                                    (if known)



                                           SCHEDULE B - PERSONAL PROPERTY
                                                   Continuation Sheet No. 6




                                                                                                   Husband, Wife, Joint,
                                                                                                                           Current Value of
                                                                                                                           Debtor's Interest




                                                                                                     or Community
                                                                                                                              in Property,

                                            None
                                                                                                                           Without Deducting
             Type of Property                          Description and Location of Property                                  any Secured
                                                                                                                                Claim or
                                                                                                                               Exemption


17. Alimony, maintenance, support,          X
and property settlements to which the
debtor is or may be entitled. Give
particulars.

18. Other liquidated debts owed to          X
debtor including tax refunds. Give
particulars.

19. Equitable or future interests, life     X
estates, and rights or powers exercis-
able for the benefit of the debtor other
than those listed in Schedule A - Real
Property.

20. Contingent and noncontingent            X
interests in estate of a decedent, death
benefit plan, life insurance policy, or
trust.

21. Other contingent and unliqui-           X
dated claims of every nature,
including tax refunds, counterclaims
of the debtor, and rights to setoff
claims. Give estimated value of each.

22. Patents, copyrights, and other          X
intellectual property. Give
particulars.

23. Licenses, franchises, and other         X
general intangibles. Give particulars.
B6B (Official Form 6B) (12/07) -- Cont.




In re Andrew McCole                                                                         Case No.
      Melissa Kelly McCole                                                                               (if known)



                                          SCHEDULE B - PERSONAL PROPERTY
                                                            Continuation Sheet No. 7




                                                                                                              Husband, Wife, Joint,
                                                                                                                                      Current Value of
                                                                                                                                      Debtor's Interest




                                                                                                                or Community
                                                                                                                                         in Property,

                                           None
                                                                                                                                      Without Deducting
             Type of Property                                     Description and Location of Property                                  any Secured
                                                                                                                                           Claim or
                                                                                                                                          Exemption


24. Customer lists or other compilations          customer list                                                     H                           $0.00
containing personally identifiable
information (as defined in 11 U.S.C.
§ 101(41A)) provided to the debtor by
individuals in connection with obtaining
a product or service from the debtor
primarily for personal, family, or
household purposes.

25. Automobiles, trucks, trailers,                2012 Mazda 5                                                      W                      $13,187.00
and other vehicles and accessories.

26. Boats, motors, and accessories.        X

27. Aircraft and accessories.              X

28. Office equipment, furnishings,         X
and supplies.

29. Machinery, fixtures, equipment,        X
and supplies used in business.

30. Inventory.                             X

31. Animals.                                      2 dogs                                                            W                           $0.00



32. Crops - growing or harvested.          X
Give particulars.

33. Farming equipment and                  X
implements.

34. Farm supplies, chemicals, and          X
feed.
B6B (Official Form 6B) (12/07) -- Cont.




In re Andrew McCole                                                                           Case No.
      Melissa Kelly McCole                                                                                           (if known)



                                          SCHEDULE B - PERSONAL PROPERTY
                                                              Continuation Sheet No. 8




                                                                                                                          Husband, Wife, Joint,
                                                                                                                                                  Current Value of
                                                                                                                                                  Debtor's Interest




                                                                                                                            or Community
                                                                                                                                                     in Property,

                                              None
                                                                                                                                                  Without Deducting
             Type of Property                                     Description and Location of Property                                              any Secured
                                                                                                                                                       Claim or
                                                                                                                                                      Exemption


35. Other personal property of any                   behyp.com; lonestarhypnosis.com; planethypnosis.com                        W                          $75.00
kind not already listed. Itemize.




                                                                          8           continuation sheets attached   Total >                           $38,416.48
             (Include amounts from any continuation sheets attached. Report total also on Summary of Schedules.)
B6C (Official Form 6C) (4/13)



In re Andrew McCole                                                                            Case No.
      Melissa Kelly McCole                                                                                          (If known)



                                     SCHEDULE C - PROPERTY CLAIMED AS EXEMPT


 Debtor claims the exemptions to which debtor is entitled under:                    Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                    $155,675.*
        11 U.S.C. § 522(b)(2)
        11 U.S.C. § 522(b)(3)




                                                                                                                                      Current
                                                                                                                                 Value of Property
                                                              Specify Law Providing Each                Value of Claimed
               Description of Property                                                                                           Without Deducting
                                                                       Exemption                           Exemption
                                                                                                                                     Exemption



 single family residence                                 Const. art. 16 §§ 50, 51, Texas Prop.              $185,275.00               $355,000.00
 4378 Barchetta Dr                                       Code §§ 41.001-.002                          100% of FMV up to
 Round Rock, TX 78665                                                                                     the exemption
 Lot 7 Block 3 Teravista Sec 22                                                                                     limit
 Williamson County
 purchased 6/10 for $295,000
 2015 WCAD appraisal $410,886

 sofa                                                    Tex. Prop. Code §§ 42.001(a), 42.002                   $250.00                   $250.00
                                                         (a)(1)                                       100% of FMV up to
                                                                                                          the exemption
                                                                                                                    limit

 sofa                                                    Tex. Prop. Code §§ 42.001(a), 42.002                   $250.00                   $250.00
                                                         (a)(1)                                       100% of FMV up to
                                                                                                          the exemption
                                                                                                                    limit

 sofa                                                    Tex. Prop. Code §§ 42.001(a), 42.002                   $250.00                   $250.00
                                                         (a)(1)                                       100% of FMV up to
                                                                                                          the exemption
                                                                                                                    limit

 sofa                                                    Tex. Prop. Code §§ 42.001(a), 42.002                   $250.00                   $250.00
                                                         (a)(1)                                       100% of FMV up to
                                                                                                          the exemption
                                                                                                                    limit

 recliner                                                Tex. Prop. Code §§ 42.001(a), 42.002                   $200.00                   $200.00
                                                         (a)(1)                                       100% of FMV up to

* Amount subject to adjustment on 4/01/16 and every three years thereafter with respect to cases
commenced on or after the date of adjustment.
                                                                                                              $186,475.00             $356,200.00
B6C (Official Form 6C) (4/13) -- Cont.



In re Andrew McCole                                                                 Case No.
      Melissa Kelly McCole                                                                             (If known)



                                         SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

                                                      Continuation Sheet No. 1



                                                                                                                         Current
                                                                                                                    Value of Property
                                                       Specify Law Providing Each          Value of Claimed         Without Deducting
                Description of Property
                                                                Exemption                     Exemption                 Exemption



                                                                                               the exemption
                                                                                                         limit

 chairs                                            Tex. Prop. Code §§ 42.001(a), 42.002             $100.00                  $100.00
                                                   (a)(1)                                 100% of FMV up to
                                                                                              the exemption
                                                                                                        limit

 coffee table                                      Tex. Prop. Code §§ 42.001(a), 42.002              $50.00                   $50.00
                                                   (a)(1)                                 100% of FMV up to
                                                                                              the exemption
                                                                                                        limit

 end tables                                        Tex. Prop. Code §§ 42.001(a), 42.002             $100.00                  $100.00
                                                   (a)(1)                                 100% of FMV up to
                                                                                              the exemption
                                                                                                        limit

 bookcases                                         Tex. Prop. Code §§ 42.001(a), 42.002             $200.00                  $200.00
                                                   (a)(1)                                 100% of FMV up to
                                                                                              the exemption
                                                                                                        limit

 lamp                                              Tex. Prop. Code §§ 42.001(a), 42.002             $100.00                  $100.00
                                                   (a)(1)                                 100% of FMV up to
                                                                                              the exemption
                                                                                                        limit

 5 televisions                                     Tex. Prop. Code §§ 42.001(a), 42.002            $1,500.00               $1,500.00
                                                   (a)(1)                                 100% of FMV up to
                                                                                              the exemption
                                                                                                        limit

 DVRs                                              Tex. Prop. Code §§ 42.001(a), 42.002             $200.00                  $200.00
                                                   (a)(1)                                 100% of FMV up to
                                                                                              the exemption
                                                                                                        limit


                                                                                                 $188,725.00             $358,450.00
B6C (Official Form 6C) (4/13) -- Cont.



In re Andrew McCole                                                                 Case No.
      Melissa Kelly McCole                                                                            (If known)



                                         SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

                                                      Continuation Sheet No. 2



                                                                                                                        Current
                                                                                                                   Value of Property
                                                       Specify Law Providing Each          Value of Claimed        Without Deducting
                Description of Property
                                                                Exemption                     Exemption                Exemption



 DVDs                                              Tex. Prop. Code §§ 42.001(a), 42.002             $150.00                 $150.00
                                                   (a)(1)                                 100% of FMV up to
                                                                                              the exemption
                                                                                                        limit

 stereo                                            Tex. Prop. Code §§ 42.001(a), 42.002              $50.00                  $50.00
                                                   (a)(1)                                 100% of FMV up to
                                                                                              the exemption
                                                                                                        limit

 stereo cabinet                                    Tex. Prop. Code §§ 42.001(a), 42.002            $1,000.00              $1,000.00
                                                   (a)(1)                                 100% of FMV up to
                                                                                              the exemption
                                                                                                        limit

 computer                                          Tex. Prop. Code §§ 42.001(a), 42.002             $300.00                 $300.00
                                                   (a)(1)                                 100% of FMV up to
                                                                                              the exemption
                                                                                                        limit

 computer                                          Tex. Prop. Code §§ 42.001(a), 42.002             $500.00                 $500.00
                                                   (a)(1)                                 100% of FMV up to
                                                                                              the exemption
                                                                                                        limit

 bar                                               Tex. Prop. Code §§ 42.001(a), 42.002             $200.00                 $200.00
                                                   (a)(1)                                 100% of FMV up to
                                                                                              the exemption
                                                                                                        limit

 refrigerator                                      Tex. Prop. Code §§ 42.001(a), 42.002            $1,000.00              $1,000.00
                                                   (a)(1)                                 100% of FMV up to
                                                                                              the exemption
                                                                                                        limit

 kitchenware                                       Tex. Prop. Code §§ 42.001(a), 42.002            $1,400.00              $1,400.00
                                                   (a)(1)                                 100% of FMV up to


                                                                                                $193,325.00             $363,050.00
B6C (Official Form 6C) (4/13) -- Cont.



In re Andrew McCole                                                                 Case No.
      Melissa Kelly McCole                                                                             (If known)



                                         SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

                                                      Continuation Sheet No. 3



                                                                                                                         Current
                                                                                                                    Value of Property
                                                       Specify Law Providing Each          Value of Claimed         Without Deducting
              Description of Property
                                                                Exemption                     Exemption                 Exemption



                                                                                               the exemption
                                                                                                         limit

 table and chairs                                  Tex. Prop. Code §§ 42.001(a), 42.002             $300.00                  $300.00
                                                   (a)(1)                                 100% of FMV up to
                                                                                              the exemption
                                                                                                        limit

 table and chairs                                  Tex. Prop. Code §§ 42.001(a), 42.002             $500.00                  $500.00
                                                   (a)(1)                                 100% of FMV up to
                                                                                              the exemption
                                                                                                        limit

 sterling ware                                     Tex. Prop. Code §§ 42.001(a), 42.002             $200.00                  $200.00
                                                   (a)(1)                                 100% of FMV up to
                                                                                              the exemption
                                                                                                        limit

 pictures                                          Tex. Prop. Code §§ 42.001(a), 42.002             $200.00                  $200.00
                                                   (a)(1)                                 100% of FMV up to
                                                                                              the exemption
                                                                                                        limit

 ottoman                                           Tex. Prop. Code §§ 42.001(a), 42.002             $300.00                  $300.00
                                                   (a)(1)                                 100% of FMV up to
                                                                                              the exemption
                                                                                                        limit

 display cabinet                                   Tex. Prop. Code §§ 42.001(a), 42.002             $400.00                  $400.00
                                                   (a)(1)                                 100% of FMV up to
                                                                                              the exemption
                                                                                                        limit

 fountain                                          Tex. Prop. Code §§ 42.001(a), 42.002             $100.00                  $100.00
                                                   (a)(1)                                 100% of FMV up to
                                                                                              the exemption
                                                                                                        limit


                                                                                                 $195,325.00             $365,050.00
B6C (Official Form 6C) (4/13) -- Cont.



In re Andrew McCole                                                                 Case No.
      Melissa Kelly McCole                                                                            (If known)



                                         SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

                                                      Continuation Sheet No. 4



                                                                                                                        Current
                                                                                                                   Value of Property
                                                       Specify Law Providing Each          Value of Claimed        Without Deducting
                Description of Property
                                                                Exemption                     Exemption                Exemption



 Christmas decorations                             Tex. Prop. Code §§ 42.001(a), 42.002             $500.00                 $500.00
                                                   (a)(1)                                 100% of FMV up to
                                                                                              the exemption
                                                                                                        limit

 bed                                               Tex. Prop. Code §§ 42.001(a), 42.002             $200.00                 $200.00
                                                   (a)(1)                                 100% of FMV up to
                                                                                              the exemption
                                                                                                        limit

 dresser                                           Tex. Prop. Code §§ 42.001(a), 42.002             $200.00                 $200.00
                                                   (a)(1)                                 100% of FMV up to
                                                                                              the exemption
                                                                                                        limit

 chest                                             Tex. Prop. Code §§ 42.001(a), 42.002             $100.00                 $100.00
                                                   (a)(1)                                 100% of FMV up to
                                                                                              the exemption
                                                                                                        limit

 night stands                                      Tex. Prop. Code §§ 42.001(a), 42.002             $100.00                 $100.00
                                                   (a)(1)                                 100% of FMV up to
                                                                                              the exemption
                                                                                                        limit

 shelves                                           Tex. Prop. Code §§ 42.001(a), 42.002              $75.00                  $75.00
                                                   (a)(1)                                 100% of FMV up to
                                                                                              the exemption
                                                                                                        limit

 shelves                                           Tex. Prop. Code §§ 42.001(a), 42.002              $75.00                  $75.00
                                                   (a)(1)                                 100% of FMV up to
                                                                                              the exemption
                                                                                                        limit

 bed                                               Tex. Prop. Code §§ 42.001(a), 42.002             $100.00                 $100.00
                                                   (a)(1)                                 100% of FMV up to


                                                                                                $196,675.00             $366,400.00
B6C (Official Form 6C) (4/13) -- Cont.



In re Andrew McCole                                                                 Case No.
      Melissa Kelly McCole                                                                             (If known)



                                         SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

                                                      Continuation Sheet No. 5



                                                                                                                         Current
                                                                                                                    Value of Property
                                                       Specify Law Providing Each          Value of Claimed         Without Deducting
                Description of Property
                                                                Exemption                     Exemption                 Exemption



                                                                                               the exemption
                                                                                                         limit

 dresser                                           Tex. Prop. Code §§ 42.001(a), 42.002             $100.00                  $100.00
                                                   (a)(1)                                 100% of FMV up to
                                                                                              the exemption
                                                                                                        limit

 night stands                                      Tex. Prop. Code §§ 42.001(a), 42.002             $100.00                  $100.00
                                                   (a)(1)                                 100% of FMV up to
                                                                                              the exemption
                                                                                                        limit

 coffee table                                      Tex. Prop. Code §§ 42.001(a), 42.002              $50.00                   $50.00
                                                   (a)(1)                                 100% of FMV up to
                                                                                              the exemption
                                                                                                        limit

 bed                                               Tex. Prop. Code §§ 42.001(a), 42.002             $100.00                  $100.00
                                                   (a)(1)                                 100% of FMV up to
                                                                                              the exemption
                                                                                                        limit

 dresser                                           Tex. Prop. Code §§ 42.001(a), 42.002             $100.00                  $100.00
                                                   (a)(1)                                 100% of FMV up to
                                                                                              the exemption
                                                                                                        limit

 chests                                            Tex. Prop. Code §§ 42.001(a), 42.002             $200.00                  $200.00
                                                   (a)(1)                                 100% of FMV up to
                                                                                              the exemption
                                                                                                        limit

 toys                                              Tex. Prop. Code §§ 42.001(a), 42.002             $400.00                  $400.00
                                                   (a)(1)                                 100% of FMV up to
                                                                                              the exemption
                                                                                                        limit


                                                                                                 $197,725.00             $367,450.00
B6C (Official Form 6C) (4/13) -- Cont.



In re Andrew McCole                                                                 Case No.
      Melissa Kelly McCole                                                                            (If known)



                                         SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

                                                      Continuation Sheet No. 6



                                                                                                                        Current
                                                                                                                   Value of Property
                                                       Specify Law Providing Each          Value of Claimed        Without Deducting
              Description of Property
                                                                Exemption                     Exemption                Exemption



 desk                                              Tex. Prop. Code §§ 42.001(a), 42.002             $100.00                 $100.00
                                                   (a)(1)                                 100% of FMV up to
                                                                                              the exemption
                                                                                                        limit

 chaise                                            Tex. Prop. Code §§ 42.001(a), 42.002             $100.00                 $100.00
                                                   (a)(1)                                 100% of FMV up to
                                                                                              the exemption
                                                                                                        limit

 linens                                            Tex. Prop. Code §§ 42.001(a), 42.002             $100.00                 $100.00
                                                   (a)(1)                                 100% of FMV up to
                                                                                              the exemption
                                                                                                        limit

 vacuums                                           Tex. Prop. Code §§ 42.001(a), 42.002             $450.00                 $450.00
                                                   (a)(1)                                 100% of FMV up to
                                                                                              the exemption
                                                                                                        limit

 sewing machine                                    Tex. Prop. Code §§ 42.001(a), 42.002             $100.00                 $100.00
                                                   (a)(1)                                 100% of FMV up to
                                                                                              the exemption
                                                                                                        limit

 patio furniture                                   Tex. Prop. Code §§ 42.001(a), 42.002             $350.00                 $350.00
                                                   (a)(1)                                 100% of FMV up to
                                                                                              the exemption
                                                                                                        limit

 grill                                             Tex. Prop. Code §§ 42.001(a), 42.002              $50.00                  $50.00
                                                   (a)(1)                                 100% of FMV up to
                                                                                              the exemption
                                                                                                        limit

 washer                                            Tex. Prop. Code §§ 42.001(a), 42.002             $300.00                 $300.00
                                                   (a)(1)                                 100% of FMV up to


                                                                                                $199,275.00             $369,000.00
B6C (Official Form 6C) (4/13) -- Cont.



In re Andrew McCole                                                                 Case No.
      Melissa Kelly McCole                                                                             (If known)



                                         SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

                                                      Continuation Sheet No. 7



                                                                                                                         Current
                                                                                                                    Value of Property
                                                       Specify Law Providing Each          Value of Claimed         Without Deducting
                Description of Property
                                                                Exemption                     Exemption                 Exemption



                                                                                               the exemption
                                                                                                         limit

 dryer                                             Tex. Prop. Code §§ 42.001(a), 42.002             $300.00                  $300.00
                                                   (a)(1)                                 100% of FMV up to
                                                                                              the exemption
                                                                                                        limit

 refrigerator                                      Tex. Prop. Code §§ 42.001(a), 42.002             $100.00                  $100.00
                                                   (a)(1)                                 100% of FMV up to
                                                                                              the exemption
                                                                                                        limit

 tools                                             Tex. Prop. Code §§ 42.001(a), 42.002             $300.00                  $300.00
                                                   (a)(1)                                 100% of FMV up to
                                                                                              the exemption
                                                                                                        limit

 lawn mower                                        Tex. Prop. Code §§ 42.001(a), 42.002              $50.00                   $50.00
                                                   (a)(1)                                 100% of FMV up to
                                                                                              the exemption
                                                                                                        limit

 desk                                              Tex. Prop. Code §§ 42.001(a), 42.002             $100.00                  $100.00
                                                   (a)(1)                                 100% of FMV up to
                                                                                              the exemption
                                                                                                        limit

 chair                                             Tex. Prop. Code §§ 42.001(a), 42.002              $50.00                   $50.00
                                                   (a)(1)                                 100% of FMV up to
                                                                                              the exemption
                                                                                                        limit

 file cabinet                                      Tex. Prop. Code §§ 42.001(a), 42.002              $50.00                   $50.00
                                                   (a)(1)                                 100% of FMV up to
                                                                                              the exemption
                                                                                                        limit


                                                                                                 $200,225.00             $369,950.00
B6C (Official Form 6C) (4/13) -- Cont.



In re Andrew McCole                                                                 Case No.
      Melissa Kelly McCole                                                                            (If known)



                                         SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

                                                      Continuation Sheet No. 8



                                                                                                                        Current
                                                                                                                   Value of Property
                                                       Specify Law Providing Each          Value of Claimed        Without Deducting
              Description of Property
                                                                Exemption                     Exemption                Exemption



 wood cabinet                                      Tex. Prop. Code §§ 42.001(a), 42.002              $50.00                  $50.00
                                                   (a)(1)                                 100% of FMV up to
                                                                                              the exemption
                                                                                                        limit

 recliners                                         Tex. Prop. Code §§ 42.001(a), 42.002             $150.00                 $150.00
                                                   (a)(1)                                 100% of FMV up to
                                                                                              the exemption
                                                                                                        limit

 scale                                             Tex. Prop. Code §§ 42.001(a), 42.002              $75.00                  $75.00
                                                   (a)(1)                                 100% of FMV up to
                                                                                              the exemption
                                                                                                        limit

 printer                                           Tex. Prop. Code §§ 42.001(a), 42.002              $50.00                  $50.00
                                                   (a)(1)                                 100% of FMV up to
                                                                                              the exemption
                                                                                                        limit

 light/sound machines                              Tex. Prop. Code §§ 42.001(a), 42.002             $200.00                 $200.00
                                                   (a)(1)                                 100% of FMV up to
                                                                                              the exemption
                                                                                                        limit

 audio                                             Tex. Prop. Code §§ 42.001(a), 42.002              $75.00                  $75.00
                                                   (a)(1)                                 100% of FMV up to
                                                                                              the exemption
                                                                                                        limit

 scanner                                           Tex. Prop. Code §§ 42.001(a), 42.002             $100.00                 $100.00
                                                   (a)(1)                                 100% of FMV up to
                                                                                              the exemption
                                                                                                        limit

 safe                                              Tex. Prop. Code §§ 42.001(a), 42.002              $50.00                  $50.00
                                                   (a)(1)                                 100% of FMV up to


                                                                                                $200,975.00             $370,700.00
B6C (Official Form 6C) (4/13) -- Cont.



In re Andrew McCole                                                                 Case No.
      Melissa Kelly McCole                                                                             (If known)



                                         SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

                                                      Continuation Sheet No. 9



                                                                                                                         Current
                                                                                                                    Value of Property
                                                       Specify Law Providing Each          Value of Claimed         Without Deducting
              Description of Property
                                                                Exemption                     Exemption                 Exemption



                                                                                               the exemption
                                                                                                         limit

 decor                                             Tex. Prop. Code §§ 42.001(a), 42.002             $125.00                  $125.00
                                                   (a)(1)                                 100% of FMV up to
                                                                                              the exemption
                                                                                                        limit

 misc household goods                              Tex. Prop. Code §§ 42.001(a), 42.002            $1,000.00               $1,000.00
                                                   (a)(1)                                 100% of FMV up to
                                                                                              the exemption
                                                                                                        limit

 books                                             Tex. Prop. Code §§ 42.001(a), 42.002             $600.00                  $600.00
                                                   (a)(1)                                 100% of FMV up to
                                                                                              the exemption
                                                                                                        limit

 CDs                                               Tex. Prop. Code §§ 42.001(a), 42.002             $200.00                  $200.00
                                                   (a)(1)                                 100% of FMV up to
                                                                                              the exemption
                                                                                                        limit

 DVDs                                              Tex. Prop. Code §§ 42.001(a), 42.002             $500.00                  $500.00
                                                   (a)(1)                                 100% of FMV up to
                                                                                              the exemption
                                                                                                        limit

 decor                                             Tex. Prop. Code §§ 42.001(a), 42.002            $1,000.00               $1,000.00
                                                   (a)(1)                                 100% of FMV up to
                                                                                              the exemption
                                                                                                        limit

 Disney collectables                               Tex. Prop. Code §§ 42.001(a), 42.002            $3,000.00               $3,000.00
                                                   (a)(1)                                 100% of FMV up to
                                                                                              the exemption
                                                                                                        limit


                                                                                                 $207,400.00             $377,125.00
B6C (Official Form 6C) (4/13) -- Cont.



In re Andrew McCole                                                                 Case No.
      Melissa Kelly McCole                                                                            (If known)



                                         SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

                                                     Continuation Sheet No. 10



                                                                                                                        Current
                                                                                                                   Value of Property
                                                       Specify Law Providing Each          Value of Claimed        Without Deducting
              Description of Property
                                                                Exemption                     Exemption                Exemption



 misc mens clothing                                Tex. Prop. Code §§ 42.001(a), 42.002             $400.00                 $400.00
                                                   (a)(5)                                 100% of FMV up to
                                                                                              the exemption
                                                                                                        limit

 misc womens clothing                              Tex. Prop. Code §§ 42.001(a), 42.002             $500.00                 $500.00
                                                   (a)(5)                                 100% of FMV up to
                                                                                              the exemption
                                                                                                        limit

 misc boys clothing                                Tex. Prop. Code §§ 42.001(a), 42.002             $100.00                 $100.00
                                                   (a)(5)                                 100% of FMV up to
                                                                                              the exemption
                                                                                                        limit

 misc mens jewelry                                 Tex. Prop. Code §§ 42.001(a), 42.002             $300.00                 $300.00
                                                   (a)(6)                                 100% of FMV up to
                                                                                              the exemption
                                                                                                        limit

 misc womens jewelry                               Tex. Prop. Code §§ 42.001(a), 42.002             $400.00                 $400.00
                                                   (a)(6)                                 100% of FMV up to
                                                                                              the exemption
                                                                                                        limit

 womens wedding ring                               Tex. Prop. Code §§ 42.001(a), 42.002             $170.00                 $170.00
                                                   (a)(6)                                 100% of FMV up to
                                                                                              the exemption
                                                                                                        limit

 fitness equipment                                 Tex. Prop. Code §§ 42.001(a), 42.002             $250.00                 $250.00
                                                   (a)(8)                                 100% of FMV up to
                                                                                              the exemption
                                                                                                        limit

 Glock 26                                          Tex. Prop. Code §§ 42.001(a), 42.002             $300.00                 $300.00
                                                   (a)(8)                                 100% of FMV up to


                                                                                                $209,820.00             $379,545.00
B6C (Official Form 6C) (4/13) -- Cont.



In re Andrew McCole                                                                 Case No.
      Melissa Kelly McCole                                                                             (If known)



                                         SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

                                                     Continuation Sheet No. 11



                                                                                                                         Current
                                                                                                                    Value of Property
                                                       Specify Law Providing Each          Value of Claimed         Without Deducting
              Description of Property
                                                                Exemption                     Exemption                 Exemption



                                                                                               the exemption
                                                                                                         limit

 camping gear                                      Tex. Prop. Code §§ 42.001(a), 42.002             $250.00                  $250.00
                                                   (a)(8)                                 100% of FMV up to
                                                                                              the exemption
                                                                                                        limit

 telescope                                         Tex. Prop. Code §§ 42.001(a), 42.002             $125.00                  $125.00
                                                   (a)(8)                                 100% of FMV up to
                                                                                              the exemption
                                                                                                        limit

 Genworth term policy                              Tex. Ins. Code §§ 1108.001, 1108.051               $0.00                    $0.00
                                                                                          100% of FMV up to
                                                                                              the exemption
                                                                                                        limit

 2012 Mazda 5                                      Tex. Prop. Code §§ 42.001(a), 42.002          $13,187.00               $13,187.00
                                                   (a)(9)                                 100% of FMV up to
                                                                                              the exemption
                                                                                                        limit

 2 dogs                                            Tex. Prop. Code §§ 42.001(a), 42.002               $0.00                    $0.00
                                                   (a)(11)                                100% of FMV up to
                                                                                              the exemption
                                                                                                        limit




                                                                                                 $223,382.00             $393,107.00
                                                 UNITED STATES BANKRUPTCY COURT
                                                    WESTERN DISTRICT OF TEXAS
                                                          AUSTIN DIVISION
   IN RE: Andrew McCole                                                                      CASE NO
          Melissa Kelly McCole
                                                                                             CHAPTER        7

                             SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)

 Exemption Totals by Category:
 (Values and liens of surrendered property are NOT included in this section)                                    Scheme Selected: State

                                                            Gross                 Total                          Total Amount   Total Amount
 No.     Category                                   Property Value        Encumbrances       Total Equity              Exempt    Non-Exempt

 N/A     Real Property.                               $355,000.00              $169,725.00   $185,275.00          $185,275.00            $0.00

 1.      Cash on hand.                                     $20.00                    $0.00        $20.00                $0.00         $20.00

 2.      Checking, savings or other financial              $64.48                    $0.00        $64.48                $0.00         $64.48
         accounts, CD's or shares in banks...

 3.      Security deposits with public utilities,         $150.00                    $0.00       $150.00                $0.00        $150.00
         telephone companies, landlords, others.

 4.      Household goods and furnishings,               $16,825.00                   $0.00    $16,825.00           $16,825.00            $0.00
         including audio, video...

 5.      Books, pictures and other art objects,          $5,300.00                   $0.00     $5,300.00            $5,300.00            $0.00
         antiques, stamp, coin, records....

 6.      Wearing apparel.                                $1,000.00                   $0.00     $1,000.00            $1,000.00            $0.00

 7.      Furs and jewelry.                                $870.00                    $0.00       $870.00              $870.00            $0.00

 8.      Firearms and sports, photographic                $925.00                    $0.00       $925.00              $925.00            $0.00
         and other hobby equipment.

 9.      Interests in insurance policies.                    $0.00                   $0.00         $0.00                $0.00            $0.00

 10.     Annuities.                                          $0.00                   $0.00         $0.00                $0.00            $0.00

 11.     Education IRAs.                                     $0.00                   $0.00         $0.00                $0.00            $0.00

 12.     Interests in IRA, ERISA, Keogh...                   $0.00                   $0.00         $0.00                $0.00            $0.00

 13.     Stock and interests in incorporated...              $0.00                   $0.00         $0.00                $0.00            $0.00

 14.     Interests in partnerships....                       $0.00                   $0.00         $0.00                $0.00            $0.00

 15.     Government and corporate bonds...                   $0.00                   $0.00         $0.00                $0.00            $0.00

 16.     Accounts receivable.                                $0.00                   $0.00         $0.00                $0.00            $0.00

 17.     Alimony, maintenance, support, and                  $0.00                   $0.00         $0.00                $0.00            $0.00
         property settlement to which the.....

 18.     Other liquidated debts owed debtor...               $0.00                   $0.00         $0.00                $0.00            $0.00

 19.     Equitable or future interests, life                 $0.00                   $0.00         $0.00                $0.00            $0.00
         estates, and rights or powers.....

 20.     Contingent and noncontingent interests              $0.00                   $0.00         $0.00                $0.00            $0.00
         in estate of decedent, death benefit....

 21.     Other contingent and unliquidated                   $0.00                   $0.00         $0.00                $0.00            $0.00
         claims of every nature.....




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                                                 UNITED STATES BANKRUPTCY COURT
                                                    WESTERN DISTRICT OF TEXAS
                                                          AUSTIN DIVISION
   IN RE: Andrew McCole                                                                            CASE NO
          Melissa Kelly McCole
                                                                                                  CHAPTER         7

                             SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)
                                                                   Continuation Sheet # 1
 Exemption Totals by Category:
 (Values and liens of surrendered property are NOT included in this section)                                          Scheme Selected: State

                                                               Gross                 Total                             Total Amount       Total Amount
 No.      Category                                     Property Value        Encumbrances          Total Equity              Exempt        Non-Exempt

 22.      Patents, copyrights, and other                         $0.00                 $0.00             $0.00                  $0.00            $0.00
          intellectual property.

 23.      Licenses, franchises, and other....                    $0.00                 $0.00             $0.00                  $0.00            $0.00

 24.      Customer Lists.                                        $0.00                 $0.00             $0.00                  $0.00            $0.00

 25.      Automobiles, trucks, trailers, vehicles...       $13,187.00                  $0.00        $13,187.00           $13,187.00              $0.00

 26.      Boats, motors and accessories.                         $0.00                 $0.00             $0.00                  $0.00            $0.00

 27.      Aircraft and accessories.                              $0.00                 $0.00             $0.00                  $0.00            $0.00

 28.      Office equipment, furnishings...                       $0.00                 $0.00             $0.00                  $0.00            $0.00

 29.      Machinery, fixtures used in business.                  $0.00                 $0.00             $0.00                  $0.00            $0.00

 30.      Inventory.                                             $0.00                 $0.00             $0.00                  $0.00            $0.00

 31.      Animals.                                               $0.00                 $0.00             $0.00                  $0.00            $0.00

 32.      Crops - growing or harvested.                          $0.00                 $0.00             $0.00                  $0.00            $0.00

 33.      Farming equipment and implements.                      $0.00                 $0.00             $0.00                  $0.00            $0.00

 34.      Farm supplies, chemicals, and feed.                    $0.00                 $0.00             $0.00                  $0.00            $0.00

 35.      Other personal property of any kind.                  $75.00                 $0.00            $75.00                  $0.00           $75.00

                       TOTALS:                           $393,416.48             $169,725.00       $223,691.48          $223,382.00            $309.48

 Surrendered Property:
 The following property is to be surrendered by the debtor. Although this property is NOT exempt, it is NOT considered "non-exempt" for purposes
 of this analysis. The below listed items are to be returned to the lienholder.

   Property Description                                                                        Market Value                     Lien            Equity

Real Property
(None)
Personal Property
(None)


                       TOTALS:                                                                         $0.00                    $0.00              $0.00


 Non-Exempt Property by Item:
 The following property, or a portion thereof, is non-exempt.

   Property Description                                                    Market Value               Lien             Equity       Non-Exempt Amount

Real Property
(None)




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                                           UNITED STATES BANKRUPTCY COURT
                                              WESTERN DISTRICT OF TEXAS
                                                    AUSTIN DIVISION
  IN RE: Andrew McCole                                                                CASE NO
         Melissa Kelly McCole
                                                                                      CHAPTER   7

                           SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)
                                                             Continuation Sheet # 2




Personal Property

 cash                                                                        $20.00                  $20.00               $20.00

 Truwest CU checking                                                         $12.00                  $12.00               $12.00

 Truwest CU savings                                                          $25.00                  $25.00               $25.00

 PayPal                                                                      $13.00                  $13.00               $13.00

 University FCU checking                                                      $9.00                      $9.00             $9.00

 University FCU savings                                                       $5.00                      $5.00             $5.00

 Independent Bank savings 8423                                                $0.48                      $0.48             $0.48

 Williamson County MUD #11                                                 $150.00                  $150.00              $150.00

 behyp.com; lonestarhypnosis.com; planethypnosis.com                         $75.00                  $75.00               $75.00


                  TOTALS:                                                   $309.48    $0.00        $309.48              $309.48




                                                              Summary
           A. Gross Property Value (not including surrendered property)                                   $393,416.48

           B. Gross Property Value of Surrendered Property                                                       $0.00

           C. Total Gross Property Value (A+B)                                                            $393,416.48

           D. Gross Amount of Encumbrances (not including surrendered property)                           $169,725.00

           E. Gross Amount of Encumbrances on Surrendered Property                                               $0.00

           F. Total Gross Encumbrances (D+E)                                                              $169,725.00

           G. Total Equity (not including surrendered property) / (A-D)                                   $223,691.48

           H. Total Equity in surrendered items (B-E)                                                            $0.00

           I. Total Equity (C-F)                                                                          $223,691.48

           J. Total Exemptions Claimed                                                                    $223,382.00

           K. Total Non-Exempt Property Remaining (G-J)                                                      $309.48




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B6D (Official Form 6D) (12/07)
          In re Andrew McCole                                                                                               Case No.
                 Melissa Kelly McCole                                                                                                                    (if known)



                               SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                              Check this box if debtor has no creditors holding secured claims to report on this Schedule D.




                                                          HUSBAND, WIFE, JOINT,
         CREDITOR'S NAME AND                                                                   DATE CLAIM WAS                                       AMOUNT OF         UNSECURED




                                                                                                                                     UNLIQUIDATED
           MAILING ADDRESS                                                                   INCURRED, NATURE                                         CLAIM           PORTION, IF




                                                                                                                                      CONTINGENT
                                                            OR COMMUNITY
                                               CODEBTOR




                                                                                                                                       DISPUTED
       INCLUDING ZIP CODE AND                                                                   OF LIEN, AND                                         WITHOUT             ANY
         AN ACCOUNT NUMBER                                                                    DESCRIPTION AND                                       DEDUCTING
         (See Instructions Above.)                                                                VALUE OF                                           VALUE OF
                                                                                             PROPERTY SUBJECT                                       COLLATERAL
                                                                                                   TO LIEN
                                                                                  DATE INCURRED:
ACCT #: 23577                                                                     NATURE OF LIEN:
                                                                                  HOA dues
Teravista Community Association                                                   COLLATERAL:
                                                                                  4378 Barchetta Dr, Round Rock, Tx                                       $626.00            $626.00
c/o Goodwin Processing                                        J                   REMARKS:
PO Box 93447
Las Vegas, NV 89193


                                                                                  VALUE:                                     $0.00
                                                                                  DATE INCURRED:    7/10
ACCT #: xxxxxxxxxx8459                                                            NATURE OF LIEN:
                                                                                  Purchase Money
Wells Fargo Home Mortgage                                                         COLLATERAL:
                                                                                  4378 Barchetta Dr, Round Rock, Tx                                  $169,439.00
PO Box 660455                                                 J                   REMARKS:
Dallas, TX 75266-0455



                                                                                  VALUE:                              $350,000.00




                                                                                                            Subtotal (Total of this Page) >            $170,065.00             $626.00
                                                                                                           Total (Use only on last page) >             $170,065.00              $626.00
________________continuation
       No                    sheets attached                                                                                                        (Report also on   (If applicable,
                                                                                                                                                    Summary of        report also on
                                                                                                                                                    Schedules.)       Statistical
                                                                                                                                                                      Summary of
                                                                                                                                                                      Certain Liabilities
                                                                                                                                                                      and Related
                                                                                                                                                                      Data.)
B6E (Official Form 6E) (04/13)

In re Andrew McCole                                                                               Case No.
      Melissa Kelly McCole                                                                                                  (If Known)



                    SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

    Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS                       (Check the appropriate box(es) below if claims in that category are listed on the attached sheets.)

    Domestic Support Obligations
    Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,
    or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent
    provided in 11 U.S.C. § 507(a)(1).

    Extensions of credit in an involuntary case
    Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of
    the appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

    Wages, salaries, and commissions
    Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to
    qualifying independent sales representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original
    petition, or the cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

    Contributions to employee benefit plans
    Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
    cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).


    Certain farmers and fishermen
    Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).


    Deposits by individuals
    Claims of individuals up to $2,775* for deposits for the purchase, lease or rental of property or services for personal, family, or household use,
    that were not delivered or provided. 11 U.S.C. § 507(a)(7).


    Taxes and Certain Other Debts Owed to Governmental Units
    Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).


    Commitments to Maintain the Capital of an Insured Depository Institution
    Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors
    of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C.
    § 507(a)(9).

    Claims for Death or Personal Injury While Debtor Was Intoxicated
    Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
    alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).


    Administrative allowances under 11 U.S.C. Sec. 330
    Claims based on services rendered by the trustee, examiner, professional person, or attorney and by any paraprofessional person employed
    by such person as approved by the court and/or in accordance with 11 U.S.C. §§ 326, 328, 329 and 330.


* Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of
adjustment.

________________continuation
       No                    sheets attached
B6F (Official Form 6F) (12/07)
  In re Andrew McCole                                                                                             Case No.
           Melissa Kelly McCole                                                                                              (if known)



                    SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
   Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.




                                                              HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                     DATE CLAIM WAS                               AMOUNT OF




                                                                                                                                   UNLIQUIDATED
                MAILING ADDRESS                                                                       INCURRED AND                                  CLAIM




                                                                                                                                    CONTINGENT
                                                                OR COMMUNITY
                                                   CODEBTOR




                                                                                                                                     DISPUTED
              INCLUDING ZIP CODE,                                                                  CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                            CLAIM.
             (See instructions above.)                                                           IF CLAIM IS SUBJECT TO
                                                                                                    SETOFF, SO STATE.


ACCT #:                                                                               DATE INCURRED:
                                                                                      CONSIDERATION:
10 CR R Inc                                                                           Collection - Moulton Niguel Water                             Notice Only
PO Box 6349                                                                           REMARKS:
                                                                H
Orange, CA 92613



ACCT #:                                                                               DATE INCURRED:
                                                                                      CONSIDERATION:
Alan & Patricia McCole                                                                Personal loans                                                $100,000.00
4378 Barchetta Dr                                                                     REMARKS:
                                                               W
Round Rock, TX 78666



ACCT #:                                                                               DATE INCURRED:
                                                                                      CONSIDERATION:
Aliso Viejo Community Association                                                     HOA dues                                                        $1,392.00
P.O. Box 51412                                                                        REMARKS:
                                                                H
Los Angeles, CA 90051-5712



ACCT #: 00053311970                                                                   DATE INCURRED:
                                                                                      CONSIDERATION:
Alliance One                                                                          Collection - Target                                           Notice Only
4850 Street RD, Suite 300                                                             REMARKS:
                                                               W
Trevose, PA 19053



ACCT #: 3499917620582463                                                              DATE INCURRED:   various
                                                                                      CONSIDERATION:
American Express                                                                      Consumer goods                                                 $15,044.00
PO Box 650448                                                                         REMARKS:
                                                               W
Dallas, TX 75265-0448



ACCT #: 349991415328xxx                                                               DATE INCURRED:   various
                                                                                      CONSIDERATION:
American Express                                                                      Consumer goods                                                 $13,602.00
PO Box 981537                                                                         REMARKS:
                                                                H
El Paso, TX 79998



                                                                                                                               Subtotal >            $130,038.00

                                                                                                                        Total >
                                                                          (Use only on last page of the completed Schedule F.)
________________continuation
       14                    sheets attached                  (Report also on Summary of Schedules and, if applicable, on the
                                                                  Statistical Summary of Certain Liabilities and Related Data.)
B6F (Official Form 6F) (12/07) - Cont.
  In re Andrew McCole                                                                                                 Case No.
           Melissa Kelly McCole                                                                                                  (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                               AMOUNT OF




                                                                                                                                       UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                  CLAIM




                                                                                                                                        CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                         DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Aurora Diagnostics                                                                        medical                                                          $105.00
2651 Warrneville Rd #500                                                                  REMARKS:
                                                                    H
Downers Grove, IL 60515



ACCT #: 7497-4999-74xx-xxxx                                                               DATE INCURRED:
                                                                                          CONSIDERATION:
Bank of America                                                                           Assigned to Cavalry Portfolio                                 Notice Only
PO Box 851001                                                                             REMARKS:
                                                                    H
Dallas, TX 75285-1001



ACCT #: 5490-3309-9966-1348                                                               DATE INCURRED:
                                                                                          CONSIDERATION:
Bank of America                                                                           Assigned to Midland Funding                                   Notice Only
P.O. Box 15726                                                                            REMARKS:
                                                                    H
Wilmington, DE 19886-5126



ACCT #: xxxx-xxxx-xxxx-6914                                                               DATE INCURRED:   various
                                                                                          CONSIDERATION:
Barclays Bank                                                                             Consumer goods                                                  $4,735.00
PO Box 8801                                                                               REMARKS:
                                                                   W
Wilmington, DE 19899-8801



ACCT #: 5147-3570-0043-5930                                                               DATE INCURRED:   various
                                                                                          CONSIDERATION:
Barclays Bank                                                                             Assigned to Midland Funding                                   Notice Only
PO Box 8801                                                                               REMARKS:
                                                                    H
Wilmington, DE 19899-8801



ACCT #: 570804120142                                                                      DATE INCURRED:   various
                                                                                          CONSIDERATION:
Capital One Bank                                                                          Consumer goods                                                 $35,691.00
PO Box 60599                                                                              REMARKS:
                                                                    H
City of Industry, CA 91716-0599



Sheet no. __________
              1        of __________
                              14     continuation sheets attached to                                                               Subtotal >             $40,531.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
B6F (Official Form 6F) (12/07) - Cont.
  In re Andrew McCole                                                                                                 Case No.
           Melissa Kelly McCole                                                                                                  (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                               AMOUNT OF




                                                                                                                                       UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                  CLAIM




                                                                                                                                        CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                         DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: 1913xxxx                                                                          DATE INCURRED:
                                                                                          CONSIDERATION:
Cavalry Portfolio Services LLC                                                            Collection - Riverwalk Holdings                               Notice Only
PO Box 27288                                                                              REMARKS:
                                                                    H
Tempe, AZ 85285-7288



ACCT #: 1465xxxxx                                                                         DATE INCURRED:
                                                                                          CONSIDERATION:
Cavalry Portfolio Services LLC                                                            Assignee of Bank of America                                     $1,442.00
PO Box 27288                                                                              REMARKS:
                                                                    H
Tempe, AZ 85285-7288



ACCT #: 922216xxxx                                                                        DATE INCURRED:   10/06
                                                                                          CONSIDERATION:
CBNA                                                                                      Foreclosure deficiency                                        Notice Only
PO Box 769006                                                                             REMARKS:
                                                                    H
San Antonio, TX 78245



ACCT #: 4266-9020-3499-0232                                                               DATE INCURRED:   various
                                                                                          CONSIDERATION:
Chase                                                                                     Consumer goods                                                  $5,029.00
P.O. Box 94014                                                                            REMARKS:
                                                                   W
Palatine, IL 60094



ACCT #: 4266-8413-4340-2515                                                               DATE INCURRED:   various
                                                                                          CONSIDERATION:
Chase                                                                                     Consumer goods                                                 $12,193.00
P.O. Box 94014                                                                            REMARKS:
                                                                   W
Palatine, IL 60094



ACCT #: 4388-5760-3717-2627                                                               DATE INCURRED:   various
                                                                                          CONSIDERATION:
Chase                                                                                     Consumer goods                                                 $11,223.00
P.O. Box 94014                                                                            REMARKS:
                                                                   W
Palatine, IL 60094



Sheet no. __________
              2        of __________
                              14     continuation sheets attached to                                                               Subtotal >             $29,887.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
B6F (Official Form 6F) (12/07) - Cont.
  In re Andrew McCole                                                                                                Case No.
           Melissa Kelly McCole                                                                                                 (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                              AMOUNT OF




                                                                                                                                      UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                 CLAIM




                                                                                                                                       CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                        DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: 4559-5350-xxxx-xxxx                                                               DATE INCURRED:   various
                                                                                          CONSIDERATION:
Chase Bank                                                                                Assigned to Midland Funding                                  Notice Only
PO Box 15298                                                                              REMARKS:
                                                                    H
Wilmington, DE 19850



ACCT #: 5401-6830-xxxx-xxxx                                                               DATE INCURRED:   various
                                                                                          CONSIDERATION:
Chase Bank                                                                                Consumer goods                                                 $6,044.00
PO Box 15298                                                                              REMARKS:
                                                                    H
Wilmington, DE 19850



ACCT #: 156306190xxx                                                                      DATE INCURRED:
                                                                                          CONSIDERATION:
Chase Mortgage                                                                            Notice Only                                                  Notice Only
PO Box 24696                                                                              REMARKS:
                                                                    H
Columbus, OH 43224



ACCT #: 5424-1812-0688-5274                                                               DATE INCURRED:   various
                                                                                          CONSIDERATION:
CitiBank                                                                                  Consumer goods                                                 $9,793.00
Processing Center                                                                         REMARKS:
                                                                   W
Des Moines, IA 50363-0005



ACCT #: xxxx-xxxx-xxxx-7343                                                               DATE INCURRED:   various
                                                                                          CONSIDERATION:
CitiBank                                                                                  Consumer goods                                                 $5,827.00
Processing Center                                                                         REMARKS:
                                                                   W
Des Moines, IA 50363-0005



ACCT #: 500548-922216xxxx                                                                 DATE INCURRED:
                                                                                          CONSIDERATION:
CitiBank                                                                                  Assigned to Midland Funding                                  Notice Only
Processing Center                                                                         REMARKS:
                                                                    H
Des Moines, IA 50363-0005



Sheet no. __________
              3        of __________
                              14     continuation sheets attached to                                                              Subtotal >             $21,664.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
B6F (Official Form 6F) (12/07) - Cont.
  In re Andrew McCole                                                                                                Case No.
           Melissa Kelly McCole                                                                                                 (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                          DATE CLAIM WAS                             AMOUNT OF




                                                                                                                                      UNLIQUIDATED
                MAILING ADDRESS                                                                            INCURRED AND                                CLAIM




                                                                                                                                       CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                        DISPUTED
              INCLUDING ZIP CODE,                                                                       CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                 CLAIM.
             (See instructions above.)                                                                IF CLAIM IS SUBJECT TO
                                                                                                         SETOFF, SO STATE.


ACCT #: 5466-1601-8492-9618                                                               DATE INCURRED:
                                                                                          CONSIDERATION:
Citibank                                                                                  Consumer Goods                                                $15,370.00
PO Box 6500                                                                               REMARKS:
                                                                    H
Sioux Falls, SD 57117



ACCT #: 20010253                                                                          DATE INCURRED:
                                                                                          CONSIDERATION:
Client Services Inc                                                                       Collection - CitiCards                                       Notice Only
PO Box 1503                                                                               REMARKS:
                                                                   W
St Peters, MO 63376-0027



ACCT #: xxxx-xxxx-xxxx4785                                                                DATE INCURRED:   various
                                                                                          CONSIDERATION:
Comenity Bank/J Crew                                                                      Consumer goods                                                 $4,006.00
Bankruptcy Dept                                                                           REMARKS:
                                                                   W
PO Box 182125
Columbus, OH 43218-2125

ACCT #: xxxx-xxxx-xxxx-2279                                                               DATE INCURRED:   various
                                                                                          CONSIDERATION:
Comenity Bank/Loft                                                                        Consumer goods                                                $11,412.00
Bankruptcy Dept                                                                           REMARKS:
                                                                   W
PO Box 182125
Columbus, OH 43218-2125

ACCT #: xxxxx2669                                                                         DATE INCURRED:   various
                                                                                          CONSIDERATION:
Comenity Bank/Victoria's Secret                                                           Consumer goods                                                 $2,448.00
Bankruptcy Dept                                                                           REMARKS:
                                                                   W
PO Box 182125
Columbus, OH 43218-2125

ACCT #: 0017601029681603                                                                  DATE INCURRED:
                                                                                          CONSIDERATION:
Cox Communications                                                                        utilities                                                       $200.00
29947 Avenida de las Banderas                                                             REMARKS:
                                                                     J
Rancho Santa Margarita, CA 92588



Sheet no. __________
              4        of __________
                              14     continuation sheets attached to                                                              Subtotal >             $33,436.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
B6F (Official Form 6F) (12/07) - Cont.
  In re Andrew McCole                                                                                                Case No.
           Melissa Kelly McCole                                                                                                     (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                                  AMOUNT OF




                                                                                                                                          UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                     CLAIM




                                                                                                                                           CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                            DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: 2941308                                                                           DATE INCURRED:
                                                                                          CONSIDERATION:
D&A Services                                                                              Collection - Barclays                                            Notice Only
1400 E. Touhy Ave #G2                                                                     REMARKS:
                                                                   W
Des Plaines, IL 60018



ACCT #: 20150252                                                                          DATE INCURRED:
                                                                                          CONSIDERATION:
Degrasse & Rolnick                                                                        Collection - Am Ex                                               Notice Only
1800 Bering Dr #1000                                                                      REMARKS:
                                                                   W
Houston, TX 77057



ACCT #: xxxx-xxxx-xxxx-8831                                                               DATE INCURRED:   various
                                                                                          CONSIDERATION:
Discover                                                                                  Consumer goods                                                     $8,604.00
PO Box 29033                                                                              REMARKS:
                                                                   W
Phoenix, AZ 85038-9033



ACCT #: 020934                                                                            DATE INCURRED:
                                                                                          CONSIDERATION:
Dyers Urgent Care                                                                         medical                                                             $120.00
23961 Calle Magdelena #115                                                                REMARKS:
                                                                    H
Laguna Hills, CA 92653



ACCT #: 7157953339609                                                                     DATE INCURRED:
                                                                                          CONSIDERATION:
Encore Receivables Management                                                             Collection - Synchrony Bank/Care Credit                          Notice Only
PO Box 3330                                                                               REMARKS:
                                                                   W
Olathe, KS 66063-0061



ACCT #: F600SEA001084xxxx                                                                 DATE INCURRED:
                                                                                          CONSIDERATION:
Fidelity Creditor Service                                                                 Collection - Am Ex                                               Notice Only
216 S. Louise St                                                                          REMARKS:
                                                                    H
Glendale, CA 91205



Sheet no. __________
              5        of __________
                              14     continuation sheets attached to                                                                  Subtotal >              $8,724.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
B6F (Official Form 6F) (12/07) - Cont.
  In re Andrew McCole                                                                                                  Case No.
           Melissa Kelly McCole                                                                                                       (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                                    AMOUNT OF




                                                                                                                                            UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                       CLAIM




                                                                                                                                             CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                              DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: xxxx4798                                                                          DATE INCURRED:
                                                                                          CONSIDERATION:
Financial Recovery Services                                                               Collection - Cavalry Portfolio                                     Notice Only
PO Box 385908                                                                             REMARKS:
                                                                    H
Minneapolis, MN 55438-59.8



ACCT #: 7682003000202196                                                                  DATE INCURRED:
                                                                                          CONSIDERATION:
First Equity Card                                                                         Assigned to Pinnacle Credit Services                               Notice Only
PO Box 640                                                                                REMARKS:
                                                                    H
Hopkins, MN 55343



ACCT #: 075910730                                                                         DATE INCURRED:
                                                                                          CONSIDERATION:
First National Collection Bureau                                                          Collecting for - Pinnacle Credit Services                                $0.00
610 Waltham Way                                                                           REMARKS:
                                                                    H
Sparks, NV 89434



ACCT #: 0741615106010852                                                                  DATE INCURRED:
                                                                                          CONSIDERATION:
GC Services                                                                               Collection - CitiCards                                             Notice Only
6330 Gulfton                                                                              REMARKS:
                                                                   W
Houston, Texas 77081



ACCT #: 31500904                                                                          DATE INCURRED:
                                                                                          CONSIDERATION:
Global Credit & Collection                                                                Collection - Citibank                                              Notice Only
PO Box 101928                                                                             REMARKS:
                                                                   W
Birmingham, AL 35210



ACCT #: 6035-3202-5935-6689                                                               DATE INCURRED:
                                                                                          CONSIDERATION:
Home Depot                                                                                Consumer Goods                                                       $4,026.00
PO Box 6405                                                                               REMARKS:
                                                                    H
Sioux Falls, SD 57117



Sheet no. __________
              6        of __________
                              14     continuation sheets attached to                                                                    Subtotal >              $4,026.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
B6F (Official Form 6F) (12/07) - Cont.
  In re Andrew McCole                                                                                                 Case No.
           Melissa Kelly McCole                                                                                                  (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                               AMOUNT OF




                                                                                                                                       UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                  CLAIM




                                                                                                                                        CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                         DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: 12026                                                                             DATE INCURRED:
                                                                                          CONSIDERATION:
Hutto Veterinary Clinic                                                                   veterinary services                                              $873.00
665 West Front St                                                                         REMARKS:
                                                                     J
Hutto, TX 78634



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Jody D. Jenkins                                                                           Attorney for - Riverwalk Holdings                             Notice Only
PO Box 420                                                                                REMARKS:
                                                                    H
Lubbock, TX 79408-0420



ACCT #: 068-9704-310                                                                      DATE INCURRED:   various
                                                                                          CONSIDERATION:
Kohl's                                                                                    Consumer goods                                                  $1,820.00
P.O. Box 2983                                                                             REMARKS:
                                                                   W
Milwaukee, WI 53201-2983



ACCT #: F600SEA001084xxxx                                                                 DATE INCURRED:
                                                                                          CONSIDERATION:
Laguna Village Owners Assoc                                                               HOA                                                            $15,538.00
23300 Santa Vittoria Dr                                                                   REMARKS:
                                                                    H
Laguna Woods, CA 92653



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Law Office of Michael Baumer                                                              Attorney Fees                                                   $1,400.00
7600 Burnet Road, Suite 530                                                               REMARKS:
                                                                     J
Austin, TX 78757



ACCT #: 7703493                                                                           DATE INCURRED:
                                                                                          CONSIDERATION:
Merchants & Medical Credit Corp                                                           Collection - Kohls                                            Notice Only
6324 Taylor Dr                                                                            REMARKS:
                                                                   W
Flint, MI 48507-4685



Sheet no. __________
              7        of __________
                              14     continuation sheets attached to                                                               Subtotal >             $19,631.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
B6F (Official Form 6F) (12/07) - Cont.
  In re Andrew McCole                                                                                                 Case No.
           Melissa Kelly McCole                                                                                                  (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                               AMOUNT OF




                                                                                                                                       UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                  CLAIM




                                                                                                                                        CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                         DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Merchants & Professional Credit                                                           Collection - Vitalogy Skincare                                Notice Only
PO Box 140675                                                                             REMARKS:
                                                                    H
Austin, Texas 78714



ACCT #: 853528xxxx                                                                        DATE INCURRED:
                                                                                          CONSIDERATION:
Midland Funding                                                                           Assignee of Synchrony Bank                                      $7,563.00
PO Box 460568                                                                             REMARKS:
                                                                    H
Houston, TX 77056



ACCT #: 854975xxx                                                                         DATE INCURRED:
                                                                                          CONSIDERATION:
Midland Funding                                                                           Assignee of Chase                                              $18,164.00
PO Box 460568                                                                             REMARKS:
                                                                    H
Houston, TX 77056



ACCT #: 8556903733                                                                        DATE INCURRED:
                                                                                          CONSIDERATION:
Midland Funding                                                                           Assignee of Barclays Bank                                      $13,783.00
PO Box 460568                                                                             REMARKS:
                                                                    H
Houston, TX 77056



ACCT #: 8537348112                                                                        DATE INCURRED:
                                                                                          CONSIDERATION:
Midland Funding                                                                           Assignee of Bank of America                                    $20,231.00
PO Box 460568                                                                             REMARKS:
                                                                    H
Houston, TX 77056



ACCT #: 853874xxxx                                                                        DATE INCURRED:
                                                                                          CONSIDERATION:
Midland Funding                                                                           Assignee of Citibank                                            $4,657.00
PO Box 460568                                                                             REMARKS:
                                                                    H
Houston, TX 77056



Sheet no. __________
              8        of __________
                              14     continuation sheets attached to                                                               Subtotal >             $64,398.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
B6F (Official Form 6F) (12/07) - Cont.
  In re Andrew McCole                                                                                                 Case No.
           Melissa Kelly McCole                                                                                                  (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                               AMOUNT OF




                                                                                                                                       UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                  CLAIM




                                                                                                                                        CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                         DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: 8538381946                                                                        DATE INCURRED:
                                                                                          CONSIDERATION:
Midland Funding                                                                           Assignee of Target                                             $18,618.00
8875 Aero Dr, Suite 200                                                                   REMARKS:
                                                                    H
San Diego, CA 92123-2255



ACCT #: 517xxxx                                                                           DATE INCURRED:
                                                                                          CONSIDERATION:
Moulton Niguel Water District                                                             water                                                            $122.00
PO Box 1269                                                                               REMARKS:
                                                                    H
Columbus, OH 43216



ACCT #: LU4.2312710                                                                       DATE INCURRED:
                                                                                          CONSIDERATION:
MRS Associates                                                                            Collection - Chase                                            Notice Only
1930 Olney Ave                                                                            REMARKS:
                                                                   W
Cherry Hill, NJ 08003



ACCT #: xxxx-xxxx-xxxx-6914                                                               DATE INCURRED:
                                                                                          CONSIDERATION:
Northstar Location Services Inc                                                           Collection - Barclays                                         Notice Only
4285 Genesee St                                                                           REMARKS:
                                                                   W
Cheektowaga, NY 14225-1943



ACCT #: A3483xxx                                                                          DATE INCURRED:
                                                                                          CONSIDERATION:
Optimum Outcomes                                                                          Collection - Aurora Diagnostics                               Notice Only
2651 Warrenville Rd #500                                                                  REMARKS:
                                                                    H
Downers Grove, IL 60515



ACCT #: 91802900xxxx                                                                      DATE INCURRED:   various
                                                                                          CONSIDERATION:
Orange County CU                                                                          Consumer goods                                                 $14,205.00
1701 E. St Andrews                                                                        REMARKS:
                                                                    H
Santa Ana, CA 92705



Sheet no. __________
              9        of __________
                              14     continuation sheets attached to                                                               Subtotal >             $32,945.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
B6F (Official Form 6F) (12/07) - Cont.
  In re Andrew McCole                                                                                                 Case No.
           Melissa Kelly McCole                                                                                                  (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                               AMOUNT OF




                                                                                                                                       UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                  CLAIM




                                                                                                                                        CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                         DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: 934-241-3400                                                                      DATE INCURRED:
                                                                                          CONSIDERATION:
Orange County Tax Collector                                                               Property taxes                                                  $6,812.00
PO Box 1438                                                                               REMARKS:
                                                                     J
Santa Ana, CA 92702-1438



ACCT #: 937-897-39                                                                        DATE INCURRED:
                                                                                          CONSIDERATION:
Orange County Tax Collector                                                               Property taxes                                                  $5,000.00
PO Box 1438                                                                               REMARKS:
                                                                     J
Santa Ana, CA 92702-1438



ACCT #: MZ1xxxxx                                                                          DATE INCURRED:
                                                                                          CONSIDERATION:
Pinnacle Credit Services                                                                  Assignee of First Equity Card                                   $4,033.00
PO Box 640                                                                                REMARKS:
                                                                    H
Hopkins, MN 55343



ACCT #: OI10xxxx                                                                          DATE INCURRED:
                                                                                          CONSIDERATION:
Pinnacle Credit Services                                                                  Collection - Verizon                                          Notice Only
PO Box 640                                                                                REMARKS:
                                                                    H
Hopkins, MN 55343



ACCT #:                                                                                   DATE INCURRED:   various
                                                                                          CONSIDERATION:
Richard Tye                                                                               Personal loans                                                 $37,000.00
3588 Windsor Dr                                                                           REMARKS:
                                                                   W
Huntington Beach, CA 92649



ACCT #: 4037-8400-1684-1270                                                               DATE INCURRED:
                                                                                          CONSIDERATION:
Riverwalk Holdings, LTD                                                                   Assignee of US Bank                                            $21,641.00
8875 Aero Drive, Ste 200                                                                  REMARKS:
                                                                    H
San Diego, CA 92123



Sheet no. __________
              10       of __________
                              14     continuation sheets attached to                                                               Subtotal >             $74,486.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
B6F (Official Form 6F) (12/07) - Cont.
  In re Andrew McCole                                                                                                 Case No.
           Melissa Kelly McCole                                                                                                  (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                          DATE CLAIM WAS                              AMOUNT OF




                                                                                                                                       UNLIQUIDATED
                MAILING ADDRESS                                                                            INCURRED AND                                 CLAIM




                                                                                                                                        CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                         DISPUTED
              INCLUDING ZIP CODE,                                                                       CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                 CLAIM.
             (See instructions above.)                                                                IF CLAIM IS SUBJECT TO
                                                                                                         SETOFF, SO STATE.


ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
San Simeon Housing Association                                                            HOA                                                             $3,542.00
Tract 15167                                                                               REMARKS:
                                                                     J
1 Polaris Way Ste 100
Aliso Viejo, CA 92656-5356

ACCT #: 3409723489                                                                        DATE INCURRED:
                                                                                          CONSIDERATION:
Scott & White Healthcare                                                                  medical                                                        $20,181.00
PO Box 844315                                                                             REMARKS:
                                                                    H
Dallas, TX 75284-4315



ACCT #: 5121-0720-4899-3499                                                               DATE INCURRED:   various
                                                                                          CONSIDERATION:
Sears                                                                                     Consumer Goods                                                  $4,639.00
PO Box 688957                                                                             REMARKS:
                                                                   W
Des Moines, IA 50368-8957



ACCT #: 0204970495                                                                        DATE INCURRED:
                                                                                          CONSIDERATION:
SoCal Gas                                                                                 utilities                                                          $40.00
Centalized Correspondence                                                                 REMARKS:
                                                                     J
PO Box 3150
San Dimas, CA 91773

ACCT #: 28135xxxx                                                                         DATE INCURRED:
                                                                                          CONSIDERATION:
Southern Cal Edison                                                                       utilities                                                        $452.00
2131 Walnut Grove Ave                                                                     REMARKS:
                                                                    H
Rosemead, CA 91770



ACCT #: 113xxxx                                                                           DATE INCURRED:
                                                                                          CONSIDERATION:
Southwest Collection                                                                      Collection - Aurora Diagnostics                               Notice Only
1111 E. Katella Ave #2                                                                    REMARKS:
                                                                    H
Orange, CA 92867



Sheet no. __________
              11       of __________
                              14     continuation sheets attached to                                                               Subtotal >             $28,854.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
B6F (Official Form 6F) (12/07) - Cont.
  In re Andrew McCole                                                                                                 Case No.
           Melissa Kelly McCole                                                                                                  (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                               AMOUNT OF




                                                                                                                                       UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                  CLAIM




                                                                                                                                        CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                         DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Stellar Recovery                                                                          Collection - US Bank                                          Notice Only
4500 Salisbury Rd #10                                                                     REMARKS:
                                                                    H
Jacksonville, FL 32216



ACCT #: 5218-5310-0695-xxxx                                                               DATE INCURRED:   various
                                                                                          CONSIDERATION:
Synchrony Bank                                                                            Assigned to MIdland Funding                                         $0.00
PO Box 965005                                                                             REMARKS:
                                                                    H
Orlando, FL 32896



ACCT #: 6019-1832-8602-6927                                                               DATE INCURRED:   various
                                                                                          CONSIDERATION:
Synchrony Bank/Care Credit                                                                Consumer goods                                                  $2,836.00
PO Box 960061                                                                             REMARKS:
                                                                   W
Orlando, FL 32896-0061



ACCT #: xxxx-xxxx-xxxx-3051                                                               DATE INCURRED:   varioua
                                                                                          CONSIDERATION:
Target                                                                                    Consumer goods                                                   $568.00
P.O. Box 660170                                                                           REMARKS:
                                                                   W
Dallas, TX 75266



ACCT #: 4352-3717-3656-8222                                                               DATE INCURRED:   various
                                                                                          CONSIDERATION:
Target National Bank                                                                      Assigned to Midland Funding                                   Notice Only
PO Box 673                                                                                REMARKS:
                                                                    H
Minneapolis, MN 55440



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Tek-Collect                                                                               Collection - Dyers Urgent Care                                Notice Only
871 Park St                                                                               REMARKS:
                                                                    H
Columbus, OH 43215



Sheet no. __________
              12       of __________
                              14     continuation sheets attached to                                                               Subtotal >              $3,404.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
B6F (Official Form 6F) (12/07) - Cont.
  In re Andrew McCole                                                                                                Case No.
           Melissa Kelly McCole                                                                                                 (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                              AMOUNT OF




                                                                                                                                      UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                 CLAIM




                                                                                                                                       CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                        DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: 24811198                                                                          DATE INCURRED:
                                                                                          CONSIDERATION:
Tx Tag Customer Service Center                                                            Tolls                                                           $335.00
12719 Burnet Rd.                                                                          REMARKS:
                                                                     J
Austin, TX 78727



ACCT #: 35595008                                                                          DATE INCURRED:
                                                                                          CONSIDERATION:
United Recovery Systems LP                                                                Collection - Chase                                           Notice Only
PO Box 722929                                                                             REMARKS:
                                                                   W
Houston, TX 77272-2929



ACCT #: xxxx-xxxx-xxxx-8360                                                               DATE INCURRED:   various
                                                                                          CONSIDERATION:
US Bank                                                                                   Consumer goods                                                $11,572.00
PO Box 790084                                                                             REMARKS:
                                                                   W
St Louis, MO 63179-0084



ACCT #: 4761-5385-xxxx-xxxx                                                               DATE INCURRED:   various
                                                                                          CONSIDERATION:
US Bank                                                                                   Consumer goods                                                $12,007.00
101 5th St E #A                                                                           REMARKS:
                                                                    H
St Paul, MN 55101



ACCT #: 46230285xxxxx                                                                     DATE INCURRED:   various
                                                                                          CONSIDERATION:
US Bank                                                                                   Consumer goods                                                $17,997.00
101 5th St E. #A                                                                          REMARKS:
                                                                    H
St Paul, MN 55101



ACCT #: 40378400xxxx                                                                      DATE INCURRED:
                                                                                          CONSIDERATION:
US Bank                                                                                   Consumer goods                                                $14,440.00
101 5th St E #A                                                                           REMARKS:
                                                                    H
St Paul, MN 55101



Sheet no. __________
              13       of __________
                              14     continuation sheets attached to                                                              Subtotal >             $56,351.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
B6F (Official Form 6F) (12/07) - Cont.
  In re Andrew McCole                                                                                                  Case No.
           Melissa Kelly McCole                                                                                                   (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                                AMOUNT OF




                                                                                                                                        UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                   CLAIM




                                                                                                                                         CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                          DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: 17310355xxxx                                                                      DATE INCURRED:
                                                                                          CONSIDERATION:
US Bank                                                                                   Consumer goods                                                   $1,952.00
PO Box 790084                                                                             REMARKS:
                                                                    H
St Louis, MO 63179



ACCT #: 1913xxxx                                                                          DATE INCURRED:
                                                                                          CONSIDERATION:
US Bank                                                                                   Assigned to Riverwalk Holdings                                       $0.00
500 Summit Lake Dr., Ste 400                                                              REMARKS:
                                                                    H
Valhalla, NY 10595



ACCT #: 4093548                                                                           DATE INCURRED:
                                                                                          CONSIDERATION:
Van Ru Credit Corporation                                                                 Collection - Discover                                          Notice Only
1350 E Touhy Ave, Ste 100E                                                                REMARKS:
                                                                   W
Des Plaines, IL 60018-3307



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Verizon                                                                                   Cellular service                                                  $570.00
PO Box 920041                                                                             REMARKS:
                                                                     J
Dallas, TX 75392-0041



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Vitalogy Skincare                                                                         medical                                                             $60.00
PO Box 140675                                                                             REMARKS:
                                                                    H
Austin, TX 78714



ACCT #: 20985596                                                                          DATE INCURRED:
                                                                                          CONSIDERATION:
Weltman, Weinberg & Reis Co, LPA                                                          Collection - Comenity Bank                                     Notice Only
PO Box 6719                                                                               REMARKS:
                                                                   W
Cleveland, OH 44101-1719



Sheet no. __________
              14       of __________
                              14     continuation sheets attached to                                                                Subtotal >              $2,582.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >                       $550,957.00
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
B6G (Official Form 6G) (12/07)
   In re Andrew McCole                                                                  Case No.
         Melissa Kelly McCole                                                                           (if known)



                     SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests.
State nature of debtor's interest in contract, i.e., "Purchaser," "Agent," etc. State whether debtor is the lessor or lessee of a lease.
Provide the names and complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to
one of the leases of contracts, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a
minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).


    Check this box if debtor has no executory contracts or unexpired leases.

                                                                         DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF DEBTOR'S
                                                                         INTEREST. STATE WHETHER LEASE IS FOR NONRESIDENTIAL REAL
            NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                PROPERTY. STATE CONTRACT NUMBER OF ANY GOVERNMENT
              OF OTHER PARTIES TO LEASE OR CONTRACT.                     CONTRACT.
B6H (Official Form 6H) (12/07)
In re Andrew McCole                                                                                Case No.
      Melissa Kelly McCole                                                                                                 (if known)



                                                        SCHEDULE H - CODEBTORS
Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the debtor
in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state, commonwealth, or
territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the eight-
year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of any former spouse who resides or
resided with the debtor in the community property state, commonwealth, or territory. Include all names used by the nondebtor spouse during the eight
years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor, state the child's initials and the name and
address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112
and Fed. R. Bankr. P. 1007(m).

    Check this box if debtor has no codebtors.
                     NAME AND ADDRESS OF CODEBTOR                                                     NAME AND ADDRESS OF CREDITOR
 Fill in this information to identify your case:
     Debtor 1              Andrew                                      McCole
                           First Name           Middle Name            Last Name                           Check if this is:
     Debtor 2              Melissa              Kelly                  McCole                                   An amended filing
     (Spouse, if filing)   First Name           Middle Name            Last Name
                                                                                                                A supplement showing post-petition
     United States Bankruptcy Court for the:   WESTERN DISTRICT OF TEXAS
                                                                                                                chapter 13 income as of the following date:
     Case number
     (if known)
                                                                                                                MM / DD / YYYY

Official Form B 6I
Schedule I: Your Income                                                                                                                              12/13

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally
responsible for supplying correct information. If you are married and not filing jointly, and your spouse is living with you,
include information about your spouse. If you are separated and your spouse is not filing with you, do not include information
about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.

 Part 1:          Describe Employment
1.    Fill in your employment
      information.                                             Debtor 1                                           Debtor 2 or non-filing spouse
      If you have more than one
      job, attach a separate page       Employment status             Employed                                           Employed
      with information about                                          Not employed                                       Not employed
      additional employers.
                                        Occupation             Hypnotist
      Include part-time, seasonal,
      or self-employed work.            Employer's name        self dba Lonestar Hypnosis

      Occupation may include            Employer's address     4375 Barchetta Dr
      student or homemaker, if it                              Number Street                                      Number Street
      applies.




                                                               Round Rock                   TX      78665
                                                               City                         State   Zip Code      City                   State   Zip Code

                                        How long employed there?        1985


 Part 2:          Give Details About Monthly Income
Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your
non-filing spouse unless you are separated.
If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If
you need more space, attach a separate sheet to this form.

                                                                                            For Debtor 1            For Debtor 2 or
                                                                                                                    non-filing spouse

2.    List monthly gross wages, salary, and commissions (before all             2.                     $0.00                   $0.00
      payroll deductions). If not paid monthly, calculate what the monthly wage
      would be.

3.    Estimate and list monthly overtime pay.                                      3.   +              $0.00                   $0.00

4.    Calculate gross income. Add line 2 + line 3.                                 4.                  $0.00                   $0.00




Official Form B 6I                                            Schedule I: Your Income                                                                page 1
Debtor 1 Andrew                                                                    McCole                                             Case number (if known)
            First Name                          Middle Name                        Last Name


                                                                                                                        For Debtor 1                  For Debtor 2 or
                                                                                                                                                      non-filing spouse

     Copy line 4 here ...................................................................................................................
                                                                                                                 4.                       $0.00                $0.00
5.   List all payroll deductions:
     5a. Tax, Medicare, and Social Security deductions                                                          5a.                  $0.00                     $0.00
     5b. Mandatory contributions for retirement plans                                                           5b.                  $0.00                     $0.00
     5c. Voluntary contributions for retirement plans                                                           5c.                  $0.00                     $0.00
     5d. Required repayments of retirement fund loans                                                           5d.                  $0.00                     $0.00
     5e. Insurance                                                                                              5e.                  $0.00                     $0.00
     5f. Domestic support obligations                                                                           5f.                  $0.00                     $0.00
     5g. Union dues                                                                                             5g.                  $0.00                     $0.00
     5h. Other deductions.
          Specify:                                                                                              5h. +                $0.00                     $0.00
6.   Add the payroll deductions.                   Add lines 5a + 5b + 5c + 5d + 5e + 5f +                      6.                   $0.00                     $0.00
     5g + 5h.
7.   Calculate total monthly take-home pay.                           Subtract line 6 from line 4.              7.                   $0.00                     $0.00
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a                                                   8a.           $1,693.05                        $0.00
          business, profession, or farm
            Attach a statement for each property and business showing
            gross receipts, ordinary and necessary business expenses, and
            the total monthly net income.

     8b. Interest and dividends                                                                                 8b.                  $0.00                     $0.00
     8c. Family support payments that you, a non-filing spouse, or a                                            8c.                  $0.00                     $0.00
         dependent regularly receive
            Include alimony, spousal support, child support, maintenance,
            divorce settlement, and property settlement.

     8d. Unemployment compensation                                                                              8d.                  $0.00                     $0.00
     8e. Social Security                                                                                        8e.                  $0.00                     $0.00
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) or any non-
         cash assistance that you receive, such as food stamps
         (benefits under the Supplemental Nutrition Assistance Program)
         or housing subsidies.
         Specify:                                                                                               8f.                  $0.00                     $0.00
     8g. Pension or retirement income                                                                           8g.                  $0.00                     $0.00
     8h. Other monthly income.
         Specify: See continuation sheet                                                                        8h. +                $0.00                $1,520.00

9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f + 8g + 8h.                                     9.            $1,693.05                   $1,520.00

10. Calculate monthly income. Add line 7 + line 9.                                                              10.           $1,693.05           +       $1,520.00       =       $3,213.05
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.

     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

     Specify:                                                                                                                                                     11.     +           $0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly                                                     12.             $3,213.05
    income. Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and
    Related Data, if it applies.                                                                                                                                              Combined
                                                                                                                                                                              monthly income
13. Do you expect an increase or decrease within the year after you file this form?
        No.           None.
            Yes. Explain:




Official Form B 6I                                                                  Schedule I: Your Income                                                                            page 2
Debtor 1 Andrew                              McCole                           Case number (if known)
          First Name           Middle Name   Last Name




                                                                     For Debtor 1       For Debtor 2 or
                                                                                        non-filing spouse
8h. Other Monthly Income (details)
     ebay sales                                                              $0.00             $520.00
     father contributions                                                    $0.00           $1,000.00

                                                           Totals:           $0.00           $1,520.00




Official Form B 6I                           Schedule I: Your Income                                        page 3
Debtor 1 Andrew                                    McCole                    Case number (if known)
          First Name                Middle Name    Last Name


8a. Attached Statement (Debtor 1)

                                                  Debtor self employment

Gross Monthly Income:                                                                                 $1,800.00

Expense                                               Category                              Amount
phone                                                                                       $60.00
bank fees                                                                                   $17.00
office supplies                                                                             $20.00
yahoo                                                                                        $9.95
Total Monthly Expenses                                                                                 $106.95

Net Monthly Income:                                                                                   $1,693.05




Official Form B 6I                                 Schedule I: Your Income                               page 4
 Fill in this information to identify your case:
                                                                                                         Check if this is:
     Debtor 1              Andrew                                        McCole                              An amended filing
                           First Name             Middle Name            Last Name                           A supplement showing post-petition
                                                                                                             chapter 13 expenses as of the
     Debtor 2              Melissa                Kelly                  McCole
     (Spouse, if filing)   First Name             Middle Name            Last Name                           following date:

     United States Bankruptcy Court for the:    WESTERN DISTRICT OF TEXAS                                      MM / DD / YYYY
     Case number                                                                                               A separate filing for Debtor 2 because
     (if known)                                                                                                Debtor 2 maintains a separate household


Official Form B 6J
Schedule J: Your Expenses                                                                                                                         12/13

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your
name and case number (if known). Answer every question.


 Part 1:          Describe Your Household
1.    Is this a joint case?

            No. Go to line 2.
            Yes. Does Debtor 2 live in a separate household?
                     No
                     Yes. Debtor 2 must file a separate Schedule J.

2.    Do you have dependents?                  No
                                               Yes. Fill out this information          Dependent's relationship to    Dependent's      Does dependent
      Do not list Debtor 1 and                                                         Debtor 1 or Debtor 2           age              live with you?
                                               for each dependent...................................
      Debtor 2.                                                                                                                            No
                                                                                  son                                 3
                                                                                                                                           Yes
      Do not state the
                                                                                                                                           No
      dependents' names.
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
3.    Do your expenses include                        No
      expenses of people other than                   Yes
      yourself and your dependents?


 Part 2:          Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case
to report expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of
the form and fill in the applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form B 6I.)                                      Your expenses

4.    The rental or home ownership expenses for your residence.                                                      4.
      Include first mortgage payments and any rent for the ground or lot.
      If not included in line 4:

      4a. Real estate taxes                                                                                          4a.

      4b. Property, homeowner's, or renter's insurance                                                               4b.

      4c. Home maintenance, repair, and upkeep expenses                                                              4c.

      4d. Homeowner's association or condominium dues                                                                4d.




 Official Form B 6J                                             Schedule J: Your Expenses                                                         page 1
Debtor 1 Andrew                                             McCole                      Case number (if known)
            First Name              Middle Name             Last Name


                                                                                                           Your expenses

5.   Additional mortgage payments for your residence, such as home equity loans                      5.

6.   Utilities:

     6a. Electricity, heat, natural gas                                                              6a.

     6b. Water, sewer, garbage collection                                                            6b.

     6c. Telephone, cell phone, Internet, satellite, and                                             6c.                   $120.00
         cable services
     6d. Other. Specify:                                                                             6d.

7.   Food and housekeeping supplies                                                                  7.                    $250.00
8.   Childcare and children's education costs                                                        8.

9.   Clothing, laundry, and dry cleaning                                                             9.

10. Personal care products and services                                                              10.                    $20.00
11. Medical and dental expenses                                                                      11.                    $30.00
12. Transportation. Include gas, maintenance, bus or train                                           12.                    $50.00
    fare. Do not include car payments.
13. Entertainment, clubs, recreation, newspapers,                                                    13.                    $20.00
    magazines, and books
14. Charitable contributions and religious donations                                                 14.

15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

     15a.    Life insurance                                                                          15a.                  $113.00
     15b.    Health insurance                                                                        15b.

     15c.    Vehicle insurance                                                                       15c.

     15d.    Other insurance. Specify:                                                               15d.
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
    Specify:                                                                                         16.

17. Installment or lease payments:

     17a.    Car payments for Vehicle 1                                                              17a.

     17b.    Car payments for Vehicle 2                                                              17b.

     17c.    Other. Specify:                                                                         17c.

     17d.    Other. Specify:                                                                         17d.

18. Your payments of alimony, maintenance, and support that you did not report as                    18.
    deducted from your pay on line 5, Schedule I, Your Income (Official Form B 6I).


19. Other payments you make to support others who do not live with you.
    Specify:                                                                                         19.
20. Other real property expenses not included in lines 4 or 5 of this form or on
    Schedule I: Your Income.
     20a.    Mortgages on other property                                                             20a.

     20b.    Real estate taxes                                                                       20b.

     20c.    Property, homeowner's, or renter's insurance                                            20c.

     20d.    Maintenance, repair, and upkeep expenses                                                20d.

     20e.    Homeowner's association or condominium dues                                             20e.


 Official Form B 6J                                         Schedule J: Your Expenses                                         page 2
Debtor 1 Andrew                                            McCole                             Case number (if known)
           First Name             Middle Name              Last Name


21. Other. Specify: pet expense                                                                              21.    +       $30.00
22. Your monthly expenses. Add lines 4 through 21.
    The result is your monthly expenses.                                                                     22.           $633.00
23. Calculate your monthly net income.

    23a.    Copy line 12 (your combined monthly income) from Schedule I.                                     23a.        $3,213.05
    23b.    Copy your monthly expenses from line 22 above.                                                   23b.   –    $4,283.12
    23c.    Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                           23c.       ($1,070.07)

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage
    payment to increase or decrease because of a modification to the terms of your mortgage?

           No.
           Yes. Explain here:
                 None.




 Official Form B 6J                                       Schedule J: Your Expenses                                           page 3
 Fill in this information to identify your case:
                                                                                                         Check if this is:
     Debtor 1              Andrew                                        McCole                              An amended filing
                           First Name             Middle Name            Last Name                           A supplement showing post-petition
                                                                                                             chapter 13 expenses as of the
     Debtor 2              Melissa                Kelly                  McCole
     (Spouse, if filing)   First Name             Middle Name            Last Name                           following date:

     United States Bankruptcy Court for the:    WESTERN DISTRICT OF TEXAS                                      MM / DD / YYYY
     Case number                                                                                               A separate filing for Debtor 2 because
     (if known)                                                                                                Debtor 2 maintains a separate household


Official Form B 6J
Schedule J: Your Expenses                                                                                                                         12/13

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your
name and case number (if known). Answer every question.


 Part 1:          Describe Your Household
1.    Is this a joint case?

            No. Go to line 2.
            Yes. Does Debtor 2 live in a separate household?
                     No
                     Yes. Debtor 2 must file a separate Schedule J.

2.    Do you have dependents?                  No
                                               Yes. Fill out this information          Dependent's relationship to    Dependent's      Does dependent
      Do not list Debtor 1 and                                                         Debtor 1 or Debtor 2           age              live with you?
                                               for each dependent...................................
      Debtor 2.                                                                                                                            No
                                                                                  son                                 3
                                                                                                                                           Yes
      Do not state the
                                                                                                                                           No
      dependents' names.
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
3.    Do your expenses include                        No
      expenses of people other than                   Yes
      yourself and your dependents?


 Part 2:          Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case
to report expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of
the form and fill in the applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form B 6I.)                                      Your expenses

4.    The rental or home ownership expenses for your residence.                                                      4.                      $993.12
      Include first mortgage payments and any rent for the ground or lot.
      If not included in line 4:

      4a. Real estate taxes                                                                                          4a.                     $825.00
      4b. Property, homeowner's, or renter's insurance                                                               4b.

      4c. Home maintenance, repair, and upkeep expenses                                                              4c.                     $100.00

      4d. Homeowner's association or condominium dues                                                                4d.                      $54.00



 Official Form B 6J                                             Schedule J: Your Expenses                                                         page 1
Debtor 1 Andrew                                             McCole                      Case number (if known)
            First Name              Middle Name             Last Name


                                                                                                           Your expenses

5.   Additional mortgage payments for your residence, such as home equity loans                      5.

6.   Utilities:

     6a. Electricity, heat, natural gas                                                              6a.                   $250.00
     6b. Water, sewer, garbage collection                                                            6b.                   $100.00
     6c. Telephone, cell phone, Internet, satellite, and                                             6c.                   $280.00
         cable services
     6d. Other. Specify:                                                                             6d.

7.   Food and housekeeping supplies                                                                  7.                    $450.00
8.   Childcare and children's education costs                                                        8.

9.   Clothing, laundry, and dry cleaning                                                             9.                    $100.00
10. Personal care products and services                                                              10.                    $75.00
11. Medical and dental expenses                                                                      11.                    $50.00
12. Transportation. Include gas, maintenance, bus or train                                           12.                   $150.00
    fare. Do not include car payments.
13. Entertainment, clubs, recreation, newspapers,                                                    13.                    $50.00
    magazines, and books
14. Charitable contributions and religious donations                                                 14.

15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

     15a.    Life insurance                                                                          15a.                   $68.00
     15b.    Health insurance                                                                        15b.

     15c.    Vehicle insurance                                                                       15c.                  $105.00
     15d.    Other insurance. Specify:                                                               15d.
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
    Specify:                                                                                         16.

17. Installment or lease payments:

     17a.    Car payments for Vehicle 1                                                              17a.

     17b.    Car payments for Vehicle 2                                                              17b.

     17c.    Other. Specify:                                                                         17c.

     17d.    Other. Specify:                                                                         17d.

18. Your payments of alimony, maintenance, and support that you did not report as                    18.
    deducted from your pay on line 5, Schedule I, Your Income (Official Form B 6I).


19. Other payments you make to support others who do not live with you.
    Specify:                                                                                         19.
20. Other real property expenses not included in lines 4 or 5 of this form or on
    Schedule I: Your Income.
     20a.    Mortgages on other property                                                             20a.

     20b.    Real estate taxes                                                                       20b.

     20c.    Property, homeowner's, or renter's insurance                                            20c.

     20d.    Maintenance, repair, and upkeep expenses                                                20d.

     20e.    Homeowner's association or condominium dues                                             20e.


 Official Form B 6J                                         Schedule J: Your Expenses                                         page 2
Debtor 1 Andrew                                            McCole                             Case number (if known)
           First Name             Middle Name              Last Name


21. Other. Specify:                                                                                          21.    +
22. Your monthly expenses. Add lines 4 through 21.
    The result is your monthly expenses.                                                                     22.        $3,650.12
23. Calculate your monthly net income.

    23a.    Copy line 12 (your combined monthly income) from Schedule I.                                     23a.

    23b.    Copy your monthly expenses from line 22 above.                                                   23b.   –
    23c.    Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                           23c.

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage
    payment to increase or decrease because of a modification to the terms of your mortgage?

           No.
           Yes. Explain here:
                 None.




 Official Form B 6J                                       Schedule J: Your Expenses                                         page 3
B 6 Summary (Official Form 6 - Summary) (12/14)
                                             UNITED STATES BANKRUPTCY COURT
                                                WESTERN DISTRICT OF TEXAS
                                                      AUSTIN DIVISION
   In re Andrew McCole                                                               Case No.
         Melissa Kelly McCole
                                                                                     Chapter      7



                                                        SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from
Schedules A, B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the
debtor's assets. Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor's liabilities.
Individual debtors also must complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under
chapter 7, 11, or 13.


                                          ATTACHED NO. OF
 NAME OF SCHEDULE                                                       ASSETS                 LIABILITIES                OTHER
                                           (YES/NO) SHEETS

 A - Real Property                                Yes      1                $355,000.00


 B - Personal Property                            Yes      9                 $38,416.48


 C - Property Claimed                             Yes      12
     as Exempt
 D - Creditors Holding                            Yes      1                                          $170,065.00
     Secured Claims
 E - Creditors Holding Unsecured
     Priority Claims                              Yes      1                                                $0.00
     (Total of Claims on Schedule E)
 F - Creditors Holding Unsecured                  Yes      15                                         $550,957.00
     Nonpriority Claims
 G - Executory Contracts and                      Yes      1
    Unexpired Leases

 H - Codebtors                                    Yes      1


 I - Current Income of                            Yes      4                                                                 $3,213.05
     Individual Debtor(s)

 J - Current Expenditures of                      Yes      6                                                                 $4,283.12
    Individual Debtor(s)

                                             TOTAL         51               $393,416.48               $721,022.00
B 6 Summary (Official Form 6 - Summary) (12/14)
                                             UNITED STATES BANKRUPTCY COURT
                                                WESTERN DISTRICT OF TEXAS
                                                      AUSTIN DIVISION
   In re Andrew McCole                                                                Case No.
         Melissa Kelly McCole
                                                                                      Chapter       7



     STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
§ 101(8)), filing a case under chapter 7, 11, or 13, you must report all information requested below.

    Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
    information here.

This information is for statistical purposes only under 28 U.S.C. § 159.

Summarize the following types of liabilities, as reported in the Schedules, and total them.

 Type of Liability                                                    Amount
 Domestic Support Obligations (from Schedule E)                                    $0.00

 Taxes and Certain Other Debts Owed to Governmental Units                          $0.00
 (from Schedule E)

 Claims for Death or Personal Injury While Debtor Was
                                                                                   $0.00
 Intoxicated (from Schedule E) (whether disputed or undisputed)

 Student Loan Obligations (from Schedule F)                                        $0.00

 Domestic Support, Separation Agreement, and Divorce Decree
                                                                                   $0.00
 Obligations Not Reported on Schedule E

 Obligations to Pension or Profit-Sharing, and Other Similar
                                                                                   $0.00
 Obligations (from Schedule F)

                                                            TOTAL                  $0.00

State the following:
 Average Income (from Schedule I, Line 12)                                     $3,213.05

 Average Expenses (from Schedule J, Line 22)                                   $4,283.12

 Current Monthly Income (from Form 22A-1 Line 11; OR, Form
 22B Line 14; OR, Form 22C-1 Line 14)                                          $3,384.64

State the following:
 1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
 column                                                                                                 $626.00

 2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
 column.                                                                           $0.00

 3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
 PRIORITY, IF ANY" column                                                                                 $0.00

 4. Total from Schedule F                                                                          $550,957.00

 5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                      $551,583.00
B6 Declaration (Official Form 6 - Declaration) (12/07)
In re Andrew McCole                                                                    Case No.
      Melissa Kelly McCole                                                                                   (if known)



                               DECLARATION CONCERNING DEBTOR'S SCHEDULES
                           DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR
    I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of                 53
sheets, and that they are true and correct to the best of my knowledge, information, and belief.


Date 11/4/2015                                               Signature    /s/ Andrew McCole
                                                                         Andrew McCole

Date 11/4/2015                                               Signature     /s/ Melissa Kelly McCole
                                                                          Melissa Kelly McCole
                                                             [If joint case, both spouses must sign.]




Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or
both. 18 U.S.C. §§ 152 and 3571.
B7 (Official Form 7) (04/13)                    UNITED STATES BANKRUPTCY COURT
                                                     WESTERN DISTRICT OF TEXAS
                                                          AUSTIN DIVISION
   In re:   Andrew McCole                                                                            Case No.
            Melissa Kelly McCole                                                                                             (if known)



                                                 STATEMENT OF FINANCIAL AFFAIRS

       1. Income from employment or operation of business
None
       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business,
       including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar year to the date this
       case was commenced. State also the gross amounts received during the TWO YEARS immediately preceding this calendar year. (A debtor that
       maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the
       beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
       under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)
        AMOUNT                      SOURCE
        $12,242.00                  2015 debtor self employment gross

        $16,908.00                  2014 debtor self employment gross

        $15,706.00                  2013 debtor self employment gross

       2. Income other than from employment or operation of business
None
       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business during the
       TWO YEARS immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each spouse
       separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed,
       unless the spouses are separated and a joint petition is not filed.)
        AMOUNT                      SOURCE
        $4,118.00                   2015 joint debtor ebay sales

        $3,514.00                   2014 joint debtor ebay sales

       3. Payments to creditors
       Complete a. or b., as appropriate, and c.
None
       a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or services, and other
       debts to any creditor made within 90 DAYS immediately preceding the commencement of this case unless the aggregate value of all property that
       constitutes or is affected by such transfer is less than $600. Indicate with an asterisk (*) any payments that were made to a creditor on account
       of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit
       counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                         DATES OF
        NAME AND ADDRESS OF CREDITOR                                     PAYMENTS                AMOUNT PAID             AMOUNT STILL OWING
        Wells Fargo Home Mortgage                                        $993/mo                 $2,979.00               $169,439.00

None
       b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 DAYS immediately
       preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such transfer is less than
       $6,225*. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support
       obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency.
       (Married debtors filing under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)

       * Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.


None
       c. All debtors: List all payments made within ONE YEAR immediately preceding the commencement of this case to or for the benefit of creditors
       who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or
       not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
B7 (Official Form 7) (04/13)                   UNITED STATES BANKRUPTCY COURT
                                                    WESTERN DISTRICT OF TEXAS
                                                         AUSTIN DIVISION
   In re:   Andrew McCole                                                                         Case No.
            Melissa Kelly McCole                                                                                          (if known)



                                                STATEMENT OF FINANCIAL AFFAIRS
                                                                  Continuation Sheet No. 1



       4. Suits and administrative proceedings, executions, garnishments and attachments
None
       a. List all suits and administrative proceedings to which the debtor is or was a party within ONE YEAR immediately preceding the filing of this
       bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or
       not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
        CAPTION OF SUIT AND                                                            COURT OR AGENCY                 STATUS OR
        CASE NUMBER                                   NATURE OF PROCEEDING             AND LOCATION                    DISPOSITION
        McCole v. McCole                              divorce/SAPCR                    425th Dist Ct                   pending
        15-006-F425                                                                    Williamson County, TX

        Riverwalk Holdings, Ltd v.                    breach of contract               368th Dist Ct                   pending
        McCole                                                                         Williamson County, TX
        12-0806-C368

        American Express Bank v.                      collection                       CCL #4                          judgment
        McCole                                                                         Williamson County
        15-0597-CC4

None
       b. Describe all property that has been attached, garnished or seized under any legal or equitable process within ONE YEAR immediately
       preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of
       either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


       5. Repossessions, foreclosures and returns
None
       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned
       to the seller, within ONE YEAR immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
       include information concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)


       6. Assignments and receiverships
None
       a. Describe any assignment of property for the benefit of creditors made within 120 DAYS immediately preceding the commencement of this
       case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition
       is filed, unless the spouses are separated and a joint petition is not filed.)

None
       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within ONE YEAR immediately preceding the
       commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
       spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


       7. Gifts
None
       List all gifts or charitable contributions made within ONE YEAR immediately preceding the commencement of this case except ordinary and usual
       gifts to family members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100
       per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not a
       joint petition is filed, unless the spouses are separated and a joint petition is not filed.)



       8. Losses
None
       List all losses from fire, theft, other casualty or gambling within ONE YEAR immediately preceding the commencement of this case OR SINCE THE
       COMMENCEMENT OF THIS CASE. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether
       or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
B7 (Official Form 7) (04/13)                   UNITED STATES BANKRUPTCY COURT
                                                    WESTERN DISTRICT OF TEXAS
                                                         AUSTIN DIVISION
   In re:   Andrew McCole                                                                          Case No.
            Melissa Kelly McCole                                                                                           (if known)



                                                 STATEMENT OF FINANCIAL AFFAIRS
                                                                   Continuation Sheet No. 2



       9. Payments related to debt counseling or bankruptcy
None
       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning debt
       consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy within ONE YEAR immediately preceding the
       commencement of this case.

                                                                      DATE OF PAYMENT,
                                                                      NAME OF PAYER IF                 AMOUNT OF MONEY OR DESCRIPTION
        NAME AND ADDRESS OF PAYEE                                     OTHER THAN DEBTOR                AND VALUE OF PROPERTY
        Law Office of Michael Baumer                                  9/15                             $1625
        7600 Burnet Rd., Ste 530
        Austin, TX 78757

        GreenPath Credit Counseling                                   9/15                             $40 (online)

       10. Other transfers
None
       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred
       either absolutely or as security within TWO YEARS immediately preceding the commencement of this case. (Married debtors filing under chapter
       12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)


       b. List all property transferred by the debtor within TEN YEARS immediately preceding the commencement of this case to a self-settled trust or
None
       similar device of which the debtor is a beneficiary.



       11. Closed financial accounts
None
       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise
       transferred within ONE YEAR immediately preceding the commencement of this case. Include checking, savings, or other financial accounts,
       certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations,
       brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
       accounts or instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
       petition is not filed.)
                                                                      TYPE OF ACCOUNT, LAST FOUR
                                                                      DIGITS OF ACCOUNT NUMBER,                 AMOUNT AND DATE OF
        NAME AND ADDRESS OF INSTITUTION                               AND AMOUNT OF FINAL BALANCE               SALE OR CLOSING
        Independent Bank                                              checking 2862                             6/15
                                                                                                                $-66.23

        Truwest CU                                                    checking/savings                          7/15
                                                                                                                $31.32

        Paypal                                                                                                  9/15
                                                                                                                $0

       12. Safe deposit boxes
None
       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within ONE YEAR immediately
       preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or
       both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
B7 (Official Form 7) (04/13)                    UNITED STATES BANKRUPTCY COURT
                                                     WESTERN DISTRICT OF TEXAS
                                                          AUSTIN DIVISION
   In re:   Andrew McCole                                                                           Case No.
            Melissa Kelly McCole                                                                                           (if known)



                                                 STATEMENT OF FINANCIAL AFFAIRS
                                                                    Continuation Sheet No. 3



       13. Setoffs
None
       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 DAYS preceding the commencement of this
       case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)



       14. Property held for another person
None
       List all property owned by another person that the debtor holds or controls.


       15. Prior address of debtor
None
       If the debtor has moved within THREE YEARS immediately preceding the commencement of this case, list all premises which the debtor occupied
       during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of either
       spouse.



       16. Spouses and Former Spouses
None
       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana,
       Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within EIGHT YEARS immediately preceding the commencement of the case,
       identify the name of the debtor's spouse and of any former spouse who resides or resided with the debtor in the community property state.


       17. Environmental Information
       For the purpose of this question, the following definitions apply:

       "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic
       substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or
       regulations regulating the cleanup of these substances, wastes, or material.

       "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated
       by the debtor, including, but not limited to, disposal sites.

       "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or
       contaminant or similar term under an Environmental Law.



None a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or
       potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the
       Environmental Law:



None b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material.
       Indicate the governmental unit to which the notice was sent and the date of the notice.



None c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which the debtor is
       or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.
B7 (Official Form 7) (04/13)                    UNITED STATES BANKRUPTCY COURT
                                                     WESTERN DISTRICT OF TEXAS
                                                          AUSTIN DIVISION
   In re:   Andrew McCole                                                                            Case No.
            Melissa Kelly McCole                                                                                              (if known)



                                                  STATEMENT OF FINANCIAL AFFAIRS
                                                                    Continuation Sheet No. 4



       18. Nature, location and name of business
None
       a. If the debtor is an individual, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending
       dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a partnership,
       sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within SIX YEARS immediately preceding the
       commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities within SIX YEARS immediately
       preceding the commencement of this case.

       If the debtor is a partnership, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending
       dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within SIX YEARS
       immediately preceding the commencement of this case.

       If the debtor is a corporation, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending
       dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within SIX YEARS
       immediately preceding the commencement of this case.

        NAME, ADDRESS, AND LAST FOUR DIGITS OF
        SOCIAL-SECURITY OR OTHER INDIVIDUAL                                                                          BEGINNING AND ENDING
        TAXPAYER-I.D. NO. (ITIN) / COMPLETE EIN                       NATURE OF BUSINESS                             DATES

        dba Lonestar Hypnosis                                         hypnosis counseling                            1985 - present
        4378 Barchetta Dr
        Round Rock, TX 78665

        dba Beachy Bungalow                                           etsy sales                                     9/15 - present
        4378 Barchetta Dr
        Round Rock, TX 78665

        dba Planet Hypnosis                                           therapist                                      7/11 - present
        4378 Barchetta Dr
        Round Rock, TX 78665

None
       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.



       The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has been,
       within SIX YEARS immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or owner
       of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole proprietor,
       or self-employed in a trade, profession, or other activity, either full- or part-time.

       (An individual or joint debtor should complete this portion of the statement ONLY if the debtor is or has been in business, as defined above, within
       six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
       directly to the signature page.)


       19. Books, records and financial statements
None
       a. List all bookkeepers and accountants who within TWO YEARS immediately preceding the filing of this bankruptcy case kept or supervised the
       keeping of books of account and records of the debtor.


None
       b. List all firms or individuals who within TWO YEARS immediately preceding the filing of this bankruptcy case have audited the books of account
       and records, or prepared a financial statement of the debtor.


None
       c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records of the
       debtor. If any of the books of account and records are not available, explain.
B7 (Official Form 7) (04/13)                    UNITED STATES BANKRUPTCY COURT
                                                     WESTERN DISTRICT OF TEXAS
                                                          AUSTIN DIVISION
   In re:   Andrew McCole                                                                             Case No.
            Melissa Kelly McCole                                                                                               (if known)



                                                  STATEMENT OF FINANCIAL AFFAIRS
                                                                     Continuation Sheet No. 5


None
       d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was issued by
       the debtor within TWO YEARS immediately preceding the commencement of this case.



       20. Inventories
None
       a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory, and the
       dollar amount and basis of each inventory.


None
       b. List the name and address of the person having possession of the records of each of the inventories reported in a., above.




       21. Current Partners, Officers, Directors and Shareholders
None
       a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.



None
       b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns, controls, or
       holds 5 percent or more of the voting or equity securities of the corporation.


       22. Former partners, officers, directors and shareholders
None
       a. If the debtor is a partnership, list each member who withdrew from the partnership within ONE YEAR immediately preceding the
       commencement of this case.


None
       b. If the debtor is a corporation, list all officers or directors whose relationship with the corporation terminated within ONE YEAR immediately
       preceding the commencement of this case.



       23. Withdrawals from a partnership or distributions by a corporation
None
       If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation in any form,
       bonuses, loans, stock redemptions, options exercised and any other perquisite during ONE YEAR immediately preceding the commencement of
       this case.


       24. Tax Consolidation Group
None
       If the debtor is a corporation, list the name and federal taxpayer-identification number of the parent corporation of any consolidated group for tax
       purposes of which the debtor has been a member at any time within SIX YEARS immediately preceding the commencement of the case.




       25. Pension Funds
None
       If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, as an employer,
       has been responsible for contributing at any time within SIX YEARS immediately preceding the commencement of the case.
B7 (Official Form 7) (04/13)              UNITED STATES BANKRUPTCY COURT
                                               WESTERN DISTRICT OF TEXAS
                                                    AUSTIN DIVISION
   In re:   Andrew McCole                                                                Case No.
            Melissa Kelly McCole                                                                              (if known)



                                           STATEMENT OF FINANCIAL AFFAIRS
                                                            Continuation Sheet No. 6



[If completed by an individual or individual and spouse]

I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any
attachments thereto and that they are true and correct.

Date 11/4/2015                                                 Signature        /s/ Andrew McCole
                                                               of Debtor        Andrew McCole

Date 11/4/2015                                                 Signature       /s/ Melissa Kelly McCole
                                                               of Joint Debtor Melissa Kelly McCole
                                                               (if any)
Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both.
18 U.S.C. §§ 152 and 3571
  B 8 (Official Form 8) (12/08)

                                                UNITED STATES BANKRUPTCY COURT
                                                   WESTERN DISTRICT OF TEXAS
                                                         AUSTIN DIVISION
  IN RE:     Andrew McCole                                                                 CASE NO
             Melissa Kelly McCole
                                                                                           CHAPTER       7

                       CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION

PART A -- Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is secured by property of the
estate. Attach additional pages if necessary.)


 Property No.   1

 Creditor's Name:                                                               Describe Property Securing Debt:
 Teravista Community Association                                                4378 Barchetta Dr, Round Rock, Tx
 c/o Goodwin Processing
 PO Box 93447
 Las Vegas, NV 89193
 23577



 Property will be (check one):
         Surrendered                 Retained

 If retaining the property, I intend to (check at least one):
           Redeem the property
           Reaffirm the debt
           Other. Explain (for example, avoid lien using 11 U.S.C. § 522(f)):
         Debtor will continue making payments to creditor without reaffirming.




 Property is (check one):
         Claimed as exempt              Not claimed as exempt


 Property No.   2

 Creditor's Name:                                                               Describe Property Securing Debt:
 Wells Fargo Home Mortgage                                                      4378 Barchetta Dr, Round Rock, Tx
 PO Box 660455
 Dallas, TX 75266-0455
 xxxxxxxxxx8459




 Property will be (check one):
         Surrendered                 Retained

 If retaining the property, I intend to (check at least one):
           Redeem the property
           Reaffirm the debt
           Other. Explain (for example, avoid lien using 11 U.S.C. § 522(f)):




 Property is (check one):
         Claimed as exempt              Not claimed as exempt
  B 8 (Official Form 8) (12/08)

                                        UNITED STATES BANKRUPTCY COURT
                                           WESTERN DISTRICT OF TEXAS
                                                 AUSTIN DIVISION
  IN RE:    Andrew McCole                                                           CASE NO
            Melissa Kelly McCole
                                                                                    CHAPTER      7

                      CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
                                                       Continuation Sheet No. 1

PART B -- Personal property subject to unexpired leases. (All three columns of Part B must be completed for each unexpired lease.
Attach additional pages if necessary.)


 Property No.     1
 Lessor's Name:                                       Describe Leased Property:                      Lease will be Assumed pursuant to
 None                                                                                                11 U.S.C. § 365(p)(2):

                                                                                                     YES              NO
  B 8 (Official Form 8) (12/08)

                                       UNITED STATES BANKRUPTCY COURT
                                          WESTERN DISTRICT OF TEXAS
                                                AUSTIN DIVISION
  IN RE:    Andrew McCole                                                          CASE NO
            Melissa Kelly McCole
                                                                                   CHAPTER        7

                      CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
                                                     Continuation Sheet No. 2

I declare under penalty of perjury that the above indicates my intention as to any property of my estate securing a debt and/or
personal property subject to an unexpired lease.



Date 11/4/2015                                            Signature    /s/ Andrew McCole
                                                                      Andrew McCole




Date 11/4/2015                                            Signature    /s/ Melissa Kelly McCole
                                                                      Melissa Kelly McCole
B 201B (Form 201B) (12/09)               UNITED STATES BANKRUPTCY COURT
                                            WESTERN DISTRICT OF TEXAS
                                                  AUSTIN DIVISION
In re Andrew McCole                                                                       Case No.
      Melissa Kelly McCole
                                                                                          Chapter             7



                             CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                 UNDER § 342(b) OF THE BANKRUPTCY CODE

                                                  Certification of the Debtor
I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy Code.

Andrew McCole                                                       X    /s/ Andrew McCole                                 11/4/2015
Melissa Kelly McCole                                                    Signature of Debtor                                Date
Printed Name(s) of Debtor(s)
                                                                    X    /s/ Melissa Kelly McCole                          11/4/2015
Case No. (if known)                                                     Signature of Joint Debtor (if any)                 Date

                         Certificate of Compliance with § 342(b) of the Bankruptcy Code
I,               Michael Baumer                     , counsel for Debtor(s), hereby certify that I delivered to the Debtor(s) the Notice
required by § 342(b) of the Bankruptcy Code.

/s/ Michael Baumer
Michael Baumer, Attorney for Debtor(s)
Bar No.: 01931920
Law Office of Michael Baumer
7600 Burnet Road, Suite 530
Austin, TX 78757
baumerlaw@baumerlaw.com
Phone: (512) 476-8707
Fax: (512) 476-8604




Instructions: Attach a copy of Form B 201A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.
Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) ONLY if the certification has NOT
been made on the Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor's
attorney that the attorney has given the notice to the debtor. The Declarations made by debtors and bankruptcy petition
preparers on page 3 of Form B1 also include this certification.
FB 201A (Form 201A) (6/14)


                                          UNITED STATES BANKRUPTCY COURT

                             NOTICE TO CONSUMER DEBTOR(S) UNDER § 342(b)
                                      OF THE BANKRUPTCY CODE
In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1) Describes
briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four
types of bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the
Attorney General may examine all information you supply in connection with a bankruptcy case.

You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the advice of an
attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees cannot give you legal
advice.

Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to ensure that you
receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the court of any changes in
your address. If you are filing a JOINT CASE (a single bankruptcy case for two individuals married to each other), and each
spouse lists the same mailing address on the bankruptcy petition, you and your spouse will generally receive a single copy of
each notice mailed from the bankruptcy court in a jointly-addressed envelope, unless you file a statement with the court
requesting that each spouse receive a separate copy of all notices.

1. Services Available from Credit Counseling Agencies
With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy
relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling
and provides assistance in performing a budget analysis. The briefing must be given within 180 days BEFORE the
bankruptcy filing. The briefing may be provided individually or in a group (including briefings conducted by telephone or on the
Internet) and must be provided by a nonprofit budget and credit counseling agency approved by the United States trustee or
bankruptcy administrator. The clerk of the bankruptcy court has a list that you may consult of the approved budget and credit
counseling agencies. Each debtor in a joint case must complete the briefing.

In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

Chapter 7:     Liquidation ($245 filing fee, $75 administrative fee, $15 trustee surcharge: Total fee $335)
Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors whose
debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted
to proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in
some cases, the United States trustee (or bankruptcy administrator), the trustee, or creditors have the right to file a motion
requesting that the court dismiss your case under § 707(b) of the Code. It is up to the court to decide whether the case should
be dismissed.

Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to take
possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.

The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it
does, the purpose for which you filed the bankruptcy petition will be defeated.

Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still be
responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property
settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not
properly listed in your bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or
aircraft while intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty,
or theft, or from a willful and malicious injury, the bankruptcy court may determine that the debt is not discharged.
Form B 201A, Notice to Consumer Debtor(s)                                                                                             Page 2

Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income
($235 filing fee, $75 administrative fee: Total fee $310)
Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments over a
period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the Bankruptcy
Code.

Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them, using your
future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your
income and other factors. The court must approve your plan before it can take effect.

After completing the payments under your plan, your debts are generally discharged except for domestic support obligations;
most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly listed in
your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.

Chapter 11: Reorganization ($1167 filing fee, $550 administrative fee: Total fee $1717)
Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

Chapter 12: Family Farmer or Fisherman               ($200 filing fee, $75 administrative fee: Total fee $275)
Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings
and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily
from a family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials
A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the
United States Trustee, the Office of the United States Attorney, and other components and employees of the Department of
Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this
information is not filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local
rules of the court. The documents and the deadlines for filing them are listed on Form B200, which is posted at
http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.
                                   IN THE UNITED STATES BANKRUPTCY COURT
                                        FOR WESTERN DISTRICT OF TEXAS
                                               AUSTIN DIVISION
IN RE:
Andrew McCole
Melissa Kelly McCole                                                                       CHAPTER 7

           RULE 2016(B) DISCLOSURE OF COMPENSATION FOR ATTORNEY FOR DEBTORS

This sets out our agreement regarding this firm's representation of you in a Chapter 7 bankruptcy case not involving issues
and/or debts related to a current or prior business to be filed in Austin, Texas. We generally charge a "flat fee" for this type of
representation for basic agreed upon services. This fee includes attorney and legal assistant time and routine out of pocket
expenses (long distance, copies, postage, faxes).

Total Attorney Fees: $3,025.00***
Total Attorney Fees Paid: $1,625.00
Balance due: $1,400.00

The total cost for services performed prior to filing your case will be $2000, comprised of $1625 in attorney fees, plus the filing
fee of $335 and the debt counseling/personal financial management class fee of $40, plus any additional amounts set out
below. If you choose to do the class over the telephone rather than online, the cost is $60 and your total pre-filing fee will be
increased to $2020. A total retainer of $2000 must be paid prior to filing your case and is payable as follows: A typical case
takes three appointments at our office prior to filing the case. The first is your free initial consultation. The second is the
review of your completed homework package, at which a payment of $1000.00 is due. The third is the signing appointment at
which another payment of $1000.00 is due. If you want us to begin taking creditor calls prior to filing, we require a payment of
$350, which will be credited to the $2000 retainer. The fee for services to be performed after filing is $1,400 and is to be paid in
monthly payments of $200 beginning on the 15th day of the each month after your case is filed.


The services included in the flat fee for a basic consumer Chapter 7 are:

Pre-filing:
     -initial client meeting
     -homework package meeting(s)
     -signing meeting
     -preparation of petition, schedules of assets and liabilities, and statement of financial affairs
     -responding to creditor calls and correspondence
Post-filing:
     -responding to creditor calls and correspondence
     -attendance at creditors meeting
     -review of security agreements and up to two reaffirmation agreements and attending hearings on the same
     -preparation of and hearings on two motions to avoid non-purchase money liens or judicial liens on homestead and
     hearings on same
     -preparation of responses to objections to exemptions

Additional fees will be charged for the following:***

Pre-filing:
     -credit report ($30 individual, $50 joint)
 ***-more than 40 creditors (40 - 70, add $250; 70 - 100, add $500; 100+ we will negotiate a fee)
 ***-more than $100,000 in unsecured debt (up to $150,000, add $250: more than $150,000, add $500; more than $250,000,
     we will negotiate a fee)
     -affidavit of special circumstances ($350)
     -non-filing spouse ($250)
   -more than four pre-filing meetings, including no shows or rescheduling with less than 48 hours notice ($200
            each)
     -more than 2 two motions to avoid non-purchase money liens or judicial liens on homestead ($75 each)
 ***-dropping off your homework package without making an appointment to review it with an attorney ($200)
Post-filing:
     -motions to sell property ($400)
     -adding creditors after the initial filing ($60 for first creditor, $25 each additional creditor)
     -amending schedules of exempt assets for assets not listed in homework package ($150)
     -contested motions for relief from stay ($350 for mortgages; $250 for vehicles)
     -notice for a reset creditors meeting ($75)
     -responding to motions to dismiss for failure to file documents or to attend creditors meeting ($250)
     -responding to motions to dismiss by the U.S. Trustee based on ineligibility to file Chapter 7 ($400 per hour plus
            expenses)
     -adversary proceedings ($400 per hour plus expenses)
     -discovery ($400 per hour plus expenses)

In the event that additional fees are charged, those fees will be required to be paid either pre-filing or post-filing, as designated
above, unless otherwise agreed.

Our agreement to represent you does not include filing or defending adversary proceedings. In the event an adversary
proceeding is filed against you, we will negotiate our representation and fee at that time. (An adversary would generally be a
dispute regarding the dischargeability of a particular debt.) Our agreement to represent you in a bankruptcy case also does not
constitute an agreement to initiate or defend any litigation on your behalf, whether in bankruptcy court or state court. We do not
defend state court collection lawsuits.

Due to reporting errors by creditors and credit reporting agencies, your credit report after filing may not accurately reflect the
status of your debts after your bankruptcy discharge. It is the responsibility of your individual creditors to report the status of
your debts properly. We cannot guarantee that your creditors will do so. Although we can usually help you correct these
problems, we do charge a fee for that service which is not included in the fee for the Chapter 7.

We will provide you with a copy of all of the documents which we file on your behalf in your case at the time they are filed. At
the time your discharge is entered, the Court will mail you a copy of the discharge order. These documents are very important.
They are the documents a home lender will typically require when you apply for a home loan. Once your case is closed, we send
your file to offsite storage. If you request copies of these documents after we send your file offsite, we charge a $75 fee for
retrieval of these documents. In addition, our records are destroyed after 5 years and we may not be able to retrieve copies after
that time.

By executing this agreement, you are representing to us that you will pay the agreed upon fee in the agreed upon installments.
By executing this agreement you agree that if you fail to make the agreed upon payments of fees, we may cease representation of
you immediately and that you will not oppose a motion to withdraw as your attorneys.

This agreement is not binding until it is signed by both parties and the full retainer is paid. Our offer to represent you
expires if you have not executed this engagement letter and paid at least $700 within 90 days after the date of your
consultation. If your case is not filed within 6 months of execution of this agreement, our agreement to represent you
expires and we will keep any monies received for services rendered.

The source of compensation was the Debtor(s). The source of compensation to be paid is the Debtor(s). I have not agreed to
share the above described compensation with any other person, unless this client(s) was referred to us by the Lawyer Referral
Service, in which case we have agreed to a 15% referral fee for all fees received over $400.00.

November 4, 2015

/s/ Michael Baumer, SB 01931920
Law Office of Michael Baumer
7600 Burnet Road, Suite 530
Austin, TX 78757


/S/Andrew McCole
Andrew McCole

/S/Melissa Kelly McCole
Melissa Kelly McCole
                                      UNITED STATES BANKRUPTCY COURT
                                         WESTERN DISTRICT OF TEXAS
                                               AUSTIN DIVISION
  IN RE:   Andrew McCole                                                           CASE NO
           Melissa Kelly McCole
                                                                                   CHAPTER       7

                                     VERIFICATION OF CREDITOR MATRIX


      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 11/4/2015                                           Signature    /s/ Andrew McCole
                                                                     Andrew McCole



Date 11/4/2015                                           Signature    /s/ Melissa Kelly McCole
                                                                     Melissa Kelly McCole
10 CR R Inc
PO Box 6349
Orange, CA 92613



Alan & Patricia McCole
4378 Barchetta Dr
Round Rock, TX 78666



Aliso Viejo Community Association
P.O. Box 51412
Los Angeles, CA 90051-5712



Alliance One
4850 Street RD, Suite 300
Trevose, PA 19053



American Express
PO Box 650448
Dallas, TX 75265-0448



American Express
PO Box 981537
El Paso, TX 79998



Aurora Diagnostics
2651 Warrneville Rd #500
Downers Grove, IL 60515



Bank of America
PO Box 851001
Dallas, TX 75285-1001



Bank of America
P.O. Box 15726
Wilmington, DE 19886-5126
Barclays Bank
PO Box 8801
Wilmington, DE 19899-8801



Capital One Bank
PO Box 60599
City of Industry, CA 91716-0599



Cavalry Portfolio Services LLC
PO Box 27288
Tempe, AZ 85285-7288



CBNA
PO Box 769006
San Antonio, TX 78245



Chase
P.O. Box 94014
Palatine, IL 60094



Chase Bank
PO Box 15298
Wilmington, DE 19850



Chase Mortgage
PO Box 24696
Columbus, OH 43224



CitiBank
Processing Center
Des Moines, IA 50363-0005



Citibank
PO Box 6500
Sioux Falls, SD 57117
Client Services Inc
PO Box 1503
St Peters, MO 63376-0027



Comenity Bank/Victoria's Secret
Bankruptcy Dept
PO Box 182125
Columbus, OH 43218-2125


Cox Communications
29947 Avenida de las Banderas
Rancho Santa Margarita, CA 92588



D&A Services
1400 E. Touhy Ave #G2
Des Plaines, IL 60018



Degrasse & Rolnick
1800 Bering Dr #1000
Houston, TX 77057



Discover
PO Box 29033
Phoenix, AZ 85038-9033



Dyers Urgent Care
23961 Calle Magdelena #115
Laguna Hills, CA 92653



Encore Receivables Management
PO Box 3330
Olathe, KS 66063-0061



Fidelity Creditor Service
216 S. Louise St
Glendale, CA 91205
Financial Recovery Services
PO Box 385908
Minneapolis, MN 55438-59.8



First Equity Card
PO Box 640
Hopkins, MN 55343



First National Collection Bureau
610 Waltham Way
Sparks, NV 89434



GC Services
6330 Gulfton
Houston, Texas 77081



Global Credit & Collection
PO Box 101928
Birmingham, AL 35210



Home Depot
PO Box 6405
Sioux Falls, SD 57117



Hutto Veterinary Clinic
665 West Front St
Hutto, TX 78634



Jody D. Jenkins
PO Box 420
Lubbock, TX 79408-0420



Kohl's
P.O. Box 2983
Milwaukee, WI 53201-2983
Laguna Village Owners Assoc
23300 Santa Vittoria Dr
Laguna Woods, CA 92653



Merchants & Medical Credit Corp
6324 Taylor Dr
Flint, MI 48507-4685



Merchants & Professional Credit
PO Box 140675
Austin, Texas 78714



Midland Funding
8875 Aero Dr, Suite 200
San Diego, CA 92123-2255



Moulton Niguel Water District
PO Box 1269
Columbus, OH 43216



MRS Associates
1930 Olney Ave
Cherry Hill, NJ 08003



Northstar Location Services Inc
4285 Genesee St
Cheektowaga, NY 14225-1943



Optimum Outcomes
2651 Warrenville Rd #500
Downers Grove, IL 60515



Orange County CU
1701 E. St Andrews
Santa Ana, CA 92705
Orange County Tax Collector
PO Box 1438
Santa Ana, CA 92702-1438



Pinnacle Credit Services
PO Box 640
Hopkins, MN 55343



Richard Tye
3588 Windsor Dr
Huntington Beach, CA 92649



Riverwalk Holdings, LTD
8875 Aero Drive, Ste 200
San Diego, CA 92123



San Simeon Housing Association
Tract 15167
1 Polaris Way Ste 100
Aliso Viejo, CA 92656-5356


Scott & White Healthcare
PO Box 844315
Dallas, TX 75284-4315



Sears
PO Box 688957
Des Moines, IA 50368-8957



SoCal Gas
Centalized Correspondence
PO Box 3150
San Dimas, CA 91773


Southern Cal Edison
2131 Walnut Grove Ave
Rosemead, CA 91770
Southwest Collection
1111 E. Katella Ave #2
Orange, CA 92867



Stellar Recovery
4500 Salisbury Rd #10
Jacksonville, FL 32216



Synchrony Bank
PO Box 965005
Orlando, FL 32896



Synchrony Bank/Care Credit
PO Box 960061
Orlando, FL 32896-0061



Target
P.O. Box 660170
Dallas, TX 75266



Target National Bank
PO Box 673
Minneapolis, MN 55440



Tek-Collect
871 Park St
Columbus, OH 43215



Teravista Community Association
c/o Goodwin Processing
PO Box 93447
Las Vegas, NV 89193


Tx Tag Customer Service Center
12719 Burnet Rd.
Austin, TX 78727
United Recovery Systems LP
PO Box 722929
Houston, TX 77272-2929



US Bank
PO Box 790084
St Louis, MO 63179-0084



US Bank
101 5th St E #A
St Paul, MN 55101



US Bank
PO Box 790084
St Louis, MO 63179



US Bank
500 Summit Lake Dr., Ste 400
Valhalla, NY 10595



Van Ru Credit Corporation
1350 E Touhy Ave, Ste 100E
Des Plaines, IL 60018-3307



Verizon
PO Box 920041
Dallas, TX 75392-0041



Vitalogy Skincare
PO Box 140675
Austin, TX 78714



Wells Fargo Home Mortgage
PO Box 660455
Dallas, TX 75266-0455
Weltman, Weinberg & Reis Co, LPA
PO Box 6719
Cleveland, OH 44101-1719
 Fill in this information to identify your case:                                             Check one box only as directed in this
                                                                                             form and in Form 22A-1Supp:
 Debtor 1             Andrew                                   McCole
                      First Name         Middle Name           Last Name                        1. There is no presumption of abuse.

 Debtor 2            Melissa             Kelly                 McCole                           2. The calculation to determine if a presumption
 (Spouse, if filing) First Name          Middle Name           Last Name                           of abuse applies will be made under Chapter 7
                                                                                                   Means Test Calculation (Official Form 22A-2).
 United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS
                                                                                                3. The Means Test does not apply now because
 Case number                                                                                       of qualified military service but it could apply
 (if known)                                                                                        later.

                                                                                                 Check if this is an amended filing

Official Form 22A-1
Chapter 7 Statement of Your Current Monthly Income                                                                                            12/14

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being
accurate. If more space is needed, attach a separate sheet to this form. Include the line number to which the additional
information applies. On top of any additional pages, write your name and case number (if known). If you believe that you are
exempted from a presumption of abuse because you do not have primarily consumer debts or because of qualifying military
service, complete and file the Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 22A-1Supp)
with this form.


 Part 1:       Calculate Your Current Monthly Income

1.   What is your marital and filing status? Check one only.

          Not married. Fill out Column A, lines 2-11.

          Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

          Married and your spouse is NOT filing with you. You and your spouse are:

               Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.

               Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you
               declare under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you
               and your spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).


     Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
     bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
     August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill
     in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
     income from that property in one column only. If you have nothing to report for any line, write $0 in the space.


                                                                                            Column A         Column B
                                                                                            Debtor 1         Debtor 2 or
                                                                                                             non-filing spouse

2.   Your gross wages, salary, tips, bonuses, overtime, and commissions                            $0.00               $0.00
     (before all payroll deductions).

3.   Alimony and maintenance payments. Do not include payments from a spouse                       $0.00               $0.00
     if Column B is filled in.

4.   All amounts from any source which are regularly paid for household                            $0.00          $1,000.00
     expenses of you or your dependents, including child support. Include
     regular contributions from an unmarried partner, members of your household,
     your dependents, parents, and roommates. Include regular contributions from
     a spouse only if Column B is not filled in. Do not include payments you listed
     on line 3.




Official Form 22A-1                          Chapter 7 Statement of Your Current Monthly Income                                               page 1
Debtor 1        Andrew                                                             McCole                                           Case number (if known)
                First Name                        Middle Name                      Last Name


                                                                                                                                         Column A      Column B
                                                                                                                                         Debtor 1      Debtor 2 or
                                                                                                                                                       non-filing spouse

5.   Net income from operating a business, profession, or farm

     Gross receipts (before all deductions)                                                       $2,004.83

     Ordinary and necessary operating expenses                                           –              $98.18
                                                                                                                       Copy
     Net monthly income from a business, profession, or farm                                      $1,906.65 here                           $1,906.65            $0.00


6.   Net income from rental and other real property

     Gross receipts (before all deductions)                                                               $0.00

     Ordinary and necessary operating expenses                                           –                $0.00
                                                                                                                       Copy
     Net monthly income from rental or other real property                                                $0.00 here                           $0.00            $0.00


7.   Interest, dividends, and royalties                                                                                                        $0.00            $0.00
8.   Unemployment compensation                                                                                                                 $0.00            $0.00
     Do not enter the amount if you contend that the amount received was a
     benefit under the Social Security Act. Instead, list it here: ...............................................

                                                                                                              $0.00
         For you............................................................................................................................

                                                                                                         $0.00
         For your spouse..............................................................................................................

9.   Pension or retirement income. Do not include any amount received that                                                                     $0.00            $0.00
     was a benefit under the Social Security Act.

10. Income from all other sources not listed above. Specify the source and
    amount. Do not include any benefits received under the Social Security Act
    or payments received as a victim of a war crime, a crime against humanity,
    or international or domestic terrorism. If necessary, list other sources on a
    separate page and put the total on line 10c.

         10a. ebay sales                                                                                                                                      $477.99

         10b.

         10c. Total amounts from separate pages, if any.                                                                          +                    +
11. Calculate your total current monthly income.
    Add lines 2 through 10 for each column.                                                                                                $1,906.65   +     $1,477.99   =        $3,384.64
    Then add the total for Column A to the total for Column B.
                                                                                                                                                                            Total current
                                                                                                                                                                            monthly income

 Part 2:           Determine Whether the Means Test Applies to You

12. Calculate your current monthly income for the year. Follow these steps:

     12a.                                                                                                                                                                        $3,384.64
              Copy your total current monthly income from line 11....................................................................................................................
                                                                                                                         Copy line 11 here                       12a.

              Multiply by 12 (the number of months in a year).                                                                                                               X      12

     12b.     The result is your annual income for this part of the form.                                                                                            12b.        $40,615.68




Official Form 22A-1                                              Chapter 7 Statement of Your Current Monthly Income                                                                   page 2
Debtor 1       Andrew                                                   McCole                                    Case number (if known)
               First Name                  Middle Name                  Last Name


13. Calculate the median family income that applies to you. Follow these steps:

    Fill in the state in which you live.                                               Texas

    Fill in the number of people in your household.                                        3

                                                                                                                                                                       $62,636.00
    Fill in the median family income for your state and size of household......................................................................................................................
                                                                                                                                                          13.
    To find a list of applicable median income amounts, go online using the link specified in the separate
    instructions for this form. This list may also be available at the bankruptcy clerk's office.


14. How do the lines compare?

    14a.           Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                   Go to Part 3.
    14b.           Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 22A-2.
                   Go to Part 3 and fill out Form 22A-2.


 Part 3:         Sign Below

      By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.


      X     /s/ Andrew McCole                                                                       X      /s/ Melissa Kelly McCole
            Andrew McCole                                                                                  Melissa Kelly McCole

           Date 11/4/2015                                                                                Date 11/4/2015
                MM / DD / YYYY                                                                                MM / DD / YYYY

      If you checked line 14a, do NOT fill out or file Form 22A-2.

      If you checked line 14b, fill out Form 22A-2 and file it with this form.




Official Form 22A-1                                     Chapter 7 Statement of Your Current Monthly Income                                                                           page 3
                                      Current Monthly Income Calculation Details
In re: Andrew McCole                                                     Case Number:
       Melissa Kelly McCole                                              Chapter:     7

4.    All amounts from any source which are regularly paid for household expenses of you or your dependents,
      including child support.

 Debtor or Spouse's Income                 Description (if available)
                                                6             5             4             3             2          Last       Avg.
                                              Months        Months        Months        Months        Months      Month        Per
                                               Ago           Ago           Ago           Ago           Ago                    Month

Spouse                                     father contributions
                                              $1,000.00    $1,000.00       $1,000.00    $1,000.00     $1,000.00   $1,000.00   $1,000.00

5.    Net income from operating a business, profession or farm.

 Debtor or Spouse's Income                 Description (if available)
                                                6             5             4             3             2          Last       Avg.
                                              Months        Months        Months        Months        Months      Month        Per
                                               Ago           Ago           Ago           Ago           Ago                    Month

Debtor                                     Debtor self employment
Gross receipts                               $1,958.40    $3,198.00        $1,405.50    $2,293.10     $1,540.00   $1,634.00   $2,004.83
Ordinary/necessary business expenses           $129.81      $201.05           $27.05       $87.05        $87.05      $57.05      $98.18
Business income                              $1,828.59    $2,996.95        $1,378.45    $2,206.05     $1,452.95   $1,576.95   $1,906.65

10.   Income from all other sources not listed above.

 Debtor or Spouse's Income                 Description (if available)
                                                6             5             4             3             2          Last       Avg.
                                              Months        Months        Months        Months        Months      Month        Per
                                               Ago           Ago           Ago           Ago           Ago                    Month

Spouse                                     ebay sales
                                               $904.96           $0.00      $600.00       $200.00     $1,068.00     $94.98     $477.99




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